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                    Exhibit 158
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      CONFIDENTIAL                                            SHATSKY-JD01857.7




                                       [PLO emblem]

                            Palestinian Liberation Organization

                    Department of Detainees and Ex-Detainees Affairs

                         General Admin istration for Administrative

                                    Archive Department

        22063              Alaa Raed Saleh Zughayer



        lmportant note: The file contains two files of two separate prisoners.

       Kindly pay attention to this to avoid confusing the two.




       CONFIDENTIAL                                            SHATSKY.JDO1857-T
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             CONFIDENTIAL                                                        SHATSKY-JD01862.7



                               lsrael         Defense                   Forces




          The Military Court in       Judea                                  Case No. 6752lLG

          Before the Hon. Presiding Judge: Lieutenant Colonel EtiAdar

          Before the Hon. Judge: Major Sebastian Osovsky

          Before the Hon. Judge: Maior Lidor Drachman


          The Military Prosecution

          (Represented by Captain Avivit Tzemach)

                            -vs-
                                                      *"0""t"08696
          The Defendant: Alaa Raed Saleh Zughayer                    / Prison Services - present
           (Represented byAdv. Labib Habib - present)

          Shift Head: Corporal Adi Peretz                                    [Arabic language stamp:]
                                                                             PLO
          Translator: Corporal Benny Abramov                                 Detainees & Ex-Detainees
                                                                             Department
           Date of Proceedings: OglOgl2OLg                                   11j3.2019
                                                                             General Department for Legal Affairs
                                                 Proceedines                 Checked
                                                                             lndictments
           The Court recognizes the Defendant.

           The Defendant declares that Adv. tabib Habib is representing him.

           Military Prosecutor: There is no evidence for the purpose of sentencing'

          Defense: There is no evidence for the purpose of sentencing. I present to the court the
          voucher for the deposit in the amount of N1510,000 whose number is 0018211230 that
          was paid as the compensation that is part of the agreement.

          Military Prosecutor summarizes: As part of the plea agreement, I will seek to impose
          on the Defendant an agreed sentence of 16 and a half years' actual imprisonment, a
          suspended sentence at the discretion of the court, and as noted by my colleague,
          compensation in the amount of N1510,000 for which a deposit in that sum has been
          made. The justifications for the agreement are the Defendant's clean record, his
          admission of guilt and the saving of judicial time, while taking into account in the
          agreement and in the amendments to the indictment that this is someone who is not
          in the inner circle of perpetrators. Likewise, we took into consideration evidentiary
          difficulties regarding the awareness of the Defendant regarding the actions of the
          murderer, and took into consideration as well the waiver of the defense of significant
          evidentiary allegations regarding the interrogation of the Defendant. The family of
           Rabbi Michael Mark of blessed memory met with members of the prosecution here in
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          the Judea and Samaria Prosecution's office and the provisions of the agreement were
          clarified to them and a discussion took place with them regarding the Defendant and
          they are aware of the agreement and accept its provisions. The agreement regarding
          the compensation is that it will be for the benefit of the deceased's estate.

          Defense summarizes: I request to honor the agreement. The Defense waived serious
          defense arguments in this case. There were evidentiary difficulties connected both to
          the versions that were in the file and to the method by which the Defendant was
          interrogated. At the end the Defendant preferred to take responsibility and admit to
          the amended indictment. There is also an expression of remorse regarding the actions
          of which it seems to us that the Defendant did not understand their seriousness in real
          time. I request that the suspended sentence be appropriate and extremely light
          considering the long period in which the Defendant is supposed to remain in actual
          imprisonment.

          The Defendant's last remarks: I regret what I did, I didn't think that this is what it
          would mean. I'm sorry.

                                                    1

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                                CONFIDENTIAL                                                     SHATSKY-JD01863-T

                           Date:09/09/2019 The Militarv Court in Judea                        Case No.:5752115



                           Before the Hon. Presiding Judge: Lieutenant Colonel EtiAdar

                           Before the Hon. Judge: Maior Sebastian Osovsky

                           Before the Hon. Judge: Maior Lidor Drachman


                           The Military Prosecution

                           (Represented by Captain Avivit Tzemach)

                                               -vs-
                           The Defendant: Alaa Raed Saleh ZughayerR"d""t"o86957Prison Services-present

                           (Represented by Adv. Labib Habib - present)



[Arabic language stamP:]
PLO
Detainees & Ex-Detainees
Department
11.13.2019                                                     Sentencing
General Department for Legal
Affairs
Checked
lndictments
                           1.         Defendant Alaa Raed Saleh Zughayer, was convicted according to his
                                 admission of the offense of aiding in intentionally causing death, pursuant to

                                 Sections 209(a) and 199e of the Security Provisions [combined version] Order

                                 5770-2009 (hereinafter: the Order) and of three Counts of aiding an attempt to

                                 intentionally cause death, pursuant to Sections 198, 209(a) and 199e ofthe Order.
                           2. This plea agreement that was made between the parties, was presented for our
                                 review after we allowed the Defendant to retract his denial of guilt in the
                                 indictment at the stage of the prosecution's case. Prior to this, several testimonies
                                 were heard, among others regarding minor allegations raised by the Defendant. ln

                                 the light of the agreement, the Defendant pleaded guilty to the amended
                                 indictment that recounts the incidents related to the murder of Rabbi Michael
                                 Mark of blessed memory (hereinafter: the Deceased) and injuring of his family -
                                 Chava Mark, Tehila Mark and Pedaya Mark.

                                 Facts of lndictment
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 6 of 142




           3. According to the amended indictment to which the Defendant has pleaded guilty,
              on7.t.2016, two terrorists, Mohamed Jabara Ahmed Al-Faqih (hereinafter: Faqih)
              and Mohamed Abd Al Magid Mohamed Al-Amayreh (hereinafter: Al-Amayreh)
              went out to execute a shooting terror attack at lsraeli targets.

          4. The two drove on Route 60 in Faqih's Hyundai vehicle onto which they affixed
              lsraeli license plates, while being in possession of two Kalashnikov rifles. They then

              noticed the car that the Deceased was driving that was in front of them, traveling

              in the direction of Jerusalem. Al-Amayreh sped up the Hyundai and passed the
              Deceased's car in order to enable Faqih to get one ofthe Kalashnikov rifles out the

              window and shoot at the lsraeli car.

          5. When the two were approximately only two meters away from the Deceased's
              car, Faqih began to shoot a massive volley of bullets at it. During the volley
              approximately 25 bullets struck the Deceased's car and led to it overturning. Even

              after the two passed

                                                        2

          CONFIDENTIAL                                                     SHATSKY-JD01863-T
        Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 7 of 142




                           CONFIDENTIAL                                                      SHATSKYJ D01864-T

                           Date: 09/09/2019 The Militarv Court in              Judea         Case No.: 5752115


                               the lsraeli car, they decided to turn around, with the intention of continuing to
                               shoot at the car's occupants and verify their deaths. Faqih got out of the Hyundai

                               vehicle and made his way to the lsraeli car with the Kalashnikov rifle in his hands

                               and shot one more time at the occupants of the Deceased's car. However, he was

                               forced to stop because other vehicles were approaching the area.

                           6. As a result of the shooting, Faqih and Al-Amayreh intentionally caused the death
                               of the driver of the car, Michael Mark of blessed memory who was hit by five
                               bullets to his body and another one to his head, as well as causing injuries to the

                               car's occupants, his wife and two children.

                           7. The Defendant before us helped Faqih and Al-Amayreh carry out their plot. His
                               activity began approximately two months prior to his arrest and continued after
                                   execution of the terror attack. ln essence, we will note that approximately two
[Arabic language stamp:]
PLO
                                           prior to his arrest, Faqih contacted the Defendant with a request to help
Detainees & Ex-Detainees
Department                     h    acquire a video camera, Hamas headbands, Hamas flags, two pairs of army
't't.13.2019
General Department for Legal
                                          and two army uniforms. The Defendant referred him to his brother
Affairs
                                   ullah, who accompanied Faqih to a store where he purchased army boots and
Checked
lndictments
                                     rms. lt should be noted that even then the Defendant understood that Faqih

                               was planning to execute a terror attack together with an additional accomplice.

                           8. Approximately three week prior to the terror attack, Faqih and the Defendant
                               discussed a replacement for Faqih after his death, who would carry out another

                               terror attack, The Defendant suggested his friend, Salim Muslim Yasser Mohamed
                               Ahmed (hereinafter: "Salim") but Faqih requested that a different person be
                               appointed as his replacement.

                           9. Approximately a week before the terror attack, the Defendant helped Faqih
                               purchase an Opel vehicle. Faqih planned to use this vehicle in orderto execute the

                               terror attack. At the end, Faqih decided not to use this vehicle but rather the
                                Hyundai, as detailed above.

                           10. At the end of June, Faqih requested that the Defendant pay him the balance of the

                               debt he owed him from a past loan, in the sum of N156,000, and noted to him that

                                if he died, he should return the money to his brother, Suhib. From all these things,
                               the Defendant grew more and more convinced that it was Faqih's intention to
                                execute a terror attack in the near future.
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          11. ln addition, also approximately a week before the terror attack, the Defendant
              acquiesced to Faqih's request to pass on a despatch for him to elements in Hamas.

              The Defendant put the despatch into his shoes, which were placed on a shelf of

              shoes in the Al-Kharas Mosque in Hebron, in accordance with the instructions that

              he received from Faqih. The Defendant opened the despatch and read what was

              inside. "Surueillance of the target was carried out. lmplementation must occur

              this Friday." The Defendant waited until an unidentified person arrived who
              collected the despatch and, in its place, left another note which contained a
              message for Faqih that the Defendant also read. "We want to see you on Tuesday

              after the afternoon prayer in the Al-Ahli Mosque in Hebron." The Defendant
              passed on the despatch to Faqih with the understanding that the terror attack

              would occur on the coming Friday.

          12. Several days prior to the execution of the terror attack, Faqih requested that the

              Defendant organize for him an apartment in which he could tape his will while

              dressed in a military uniform with a Hamas flag at his side. The Defendant
              contacted his friend Salim and received from him keys to an apartment in the
              dormitories of the university in Hebron.

                                                         3

          CONFIDENTIAL                                                  SHATSKY-JD01864-T
          Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 9 of 142




                           CONFIDENTIAL                                                     SHATSKYJ D01865-T

                           Date: 09109/2019 The Militarv Court in            Judea case No.: 6752116

                           13. On 6.29.2OL6, the Defendant invited Faqih to join him for the fast-breaking meal

                               in Salim's house. At this time, Faqih told the Defendant that everything was ready

                               and asked that he pay the rest of his debt to his brother, Suhib.

                           14. After the murder the Defendant met with Faqih and the two discussed the terror

                               attack. Faqih updated the Defendant that he intended to hide in a building that
                               was in the process of being built, but the Defendant suggested that he sleep in the

                               student dormitories of the university, and the latter agreed.

                           15. The Defendant even agreed to Faqih's requests, among them to let him use his

                               cellular phone, to ensure the repair of a hole in the driver's door caused by the
                               ejection of a bullet during the terror attack, and to charge a phone card for him.

                               The Defendant also suggested to Faqih that he provide him with food.

                           16. ln due course, the Defendant repaired Faqih's car with Salim's help. Later, the
                               Defendant collected Faqih from the student dormitories together with his
                               possessions, which included two satchels, military uniforms and a Kalashnikov

                               weapon, and drove him to his parents' house. During the drive, the Defendant
[Arabic language stampl
PLO                            updated Faqih about additional messages. After reaching his parents' house, Faqih
Detainees & Ex-Detainees
Department                     got out of the car and the Defendant told him that he would drive him back to
11.'t3.20',t9
General Department for Legal   Hebron in the evening. Likewise, on 7.3.20t6, the Defendant transferred a
Affairs
Checked                        backpack that was placed in a storage compartment in his brother's shop, and into
lndictments
                               which a passport had been put.

                           17. Thus far the facts arising from the indictment on the basis of which the accused

                               was convicted for aiding in intentionally causing the death of Rabbi Michael Mark

                               of blessed memory as well as aiding in the attempt to cause the deaths of Chava
                               Mark, Tehila Mark and Pedaya Mark.

                           18. The parties presented before us the plea agreement, in context of which they

                               requested that we impose on the Defendant a sentence of 16 and a half years'

                               actual imprisonment as well as a suspended sentence based on the discretion of

                               the court. This in addition to compensation in the amount of N1510,000 that will
                               be paid to the estate of the Deceased and for which an appropriate deposit has

                               been made.

                           19. The parties have justified the settlement based on the clean record of the

                               Defendant, his admission of guilt and the saving of judicial time. lt was further
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               stated before us that the parties took into account the fact that the Defendant is

               not among the "inner circle of the perpetrators." They also took into account
               significant evidentiary difficulties that touch, among other things, on the issue of

               the Defendant's awareness of details of the occurrence of the terror attack and of
               Faqih's actions, and which led to the amendment of the indictment. ln addition, it

               was claimed that in context of the agreement, the defense waived its allegations

               regarding the admissibility of the Defendant's confessions during his various
               interrogations. The prosecution added that it had updated the Deceased's family,

               some of whom were injured during the terror attack, as to the Counts of the plea

               agreement and that the agreement was acceptable to them.

           20. ln his "final remarks," the Defendant expressed regret for his actions, said that he
               was sorry for them and even added that he had not understood the immensity of

               the actions in which he had taken part.

                                                      4




           CONFIDENTIAL                                                    SHATSKY-JD01865-T
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                           CONFIDENTIAL                                                       SHATSKY-JD01866-T

                           Date: 09/09/2019 The Militarv Court in              Judea          Case No.: 5752/16


                           Discussion and Determination

                           21. The Defendant was convicted of serious security offenses. The offense of aiding in

                               intentionally causing death as well as aiding in attempts to intentionally cause
                               death. There is no need to overstate the severity of the Defendant's actions, which

                               in practice decided the fate of an entire family and are an inseparable part of the
                               chain of events that led to the murder of the Deceased'

                           22. ln the said offenses there is a mortal violation of the value of the sanctity of life, a
                               sacred value in any civilized society. With his actions, the Defendant contributed a

                               significant blow to the said value, as well as to the right to bodily integrity and
                               public order.

                           23. The circumstances of the commission of the offenses in our case indicate its great

                               severity. The Defendant took active part in the circle that led to the murder of the

                               Deceased and to the injuring of his fami[, and aided in the realization of the

                               terror attack in all its stages, beginning with bringing the uniforms and Hamas
                               symbols to one of the murderers, purchasing a vehicle for the purpose of its

                               execution (even if at the end Faqih decided to use a different vehicle), passing on

                               messages between Faqih and Hamas elements, finding a hiding place even before

                               the terror attack occurred, and ending with rendering assistance after the attack.

                           24. ln this context, the Defendant provided significant assistance to the perpetrators
                               of the attack. This was assistance provided at very significant stages, over time,
[Arabic language stamp:]
PLO                            which justifies stiffening the sentence (compare according to 635/05 Da'na v.
Detainees & Ex-
Detainees Department           State of lsrael (published in Nevo, tU26/2007)'
11.13.2019
General Department for     25. We have also taken into account that the terror attack that the Defendant aided in
Legal Affairs
Checked                         executing was executed out of nationalist motives whose purpose was to cause
lndictments
                                harm to lsraelis and Jews wherever they are in this context. We have considered

                               that all along the way the Defendant was aware that Hamas stands behind the
                               terror attack. Accordingly, the things that were determined in the matter of
                                Mahajneh are approPriate here:

                                               "The appellant committed the most severe security offenses, which

                                               could endanger human life and seriously harm public safety in lsrael.
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                            And executing terror attacks against lsraelis must be clear and explicit.

                            A deterrent message must be sent with the required power against

                            any kind of cooperation in planning and executing murderous actions,

                            the fruit of insane motives, that are directed at every person in lsrael"

                            (according to 3289/05 Mahajneh v. the State of tsrael (published in

                            Nevo, 10.10.2005).

           26. on the side of the considerations to be lenient, we have taken into account that
               the indictment in the Defendant's case was amended, since at the end it was
               determined that he was not part of the inner circle of the perpetrators of the
               attack. The parties related to the evidentiary difficulties regarding proof of the
               Defendant's part, as one who was conversant with the details of the terror attack,

               and in the process, we even considered the waiver of the defense of its
               allegations. Among other things, detailed minor allegations that were raised in the

               context of the Defendant's retraction of guilt.
           27. ln summation, in the case before us, we have considered on the one hand the
               protected social values that have been harmed as a result of the offenses

               regarding which the Defendant has been convicted, at whose center is the value

               of the sanctity of life, as well as the ideological motive

                                                        5
           CONFIDENTIAL                                                      SHATSKY-JD01866.7
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                           CONFIDENTIAL                                                       SHATSKYJDOlS6T-T




                            Date: 09/09/2019 The Militarv Court in             Judea Case No.:6752116
                                that formed the basis of the Defendant's actions. We also have taken into account
                                the fatal outcome to which the Defendant contributed with his actions, as well as
                                the damages that were caused to the rest of those harmed by the offense. On the
                                other hand, we have taken into consideration the relative part played by the
                                Defendant, who was convicted of aiding and abetting the commission of these
[Arabic language stamp:]
PLO
Detainees & Ex-Detainees
                                offenses, as we have detailed above, and the fact that he was not present at the
Department
11.13.2019
                                terror attack that led to the death of the Deceased and the injuries to his fami[.
General Department for
                                We have further considered that we were interested in a plea agreement that was
Legal Affairs
Checked                         drawn up after the parties gave their opinion on the evidentiary difficulties in the
lndictments
                                case, and after the defense waived evidentiary allegations on the basis of which

                                the evidence in the case began to be heard, due to the Defendant taking some
                                kind of responsibility for his part in the offenses. After weighing all the above-
                                stated circumstances, we are of the opinion that the agreement reached between

                                the parties is a worthy one and we have therefore decided to honor it.


                            28. ln view of the foregoing, we sentence the Defendant as follows:


                                A. 16 and a half years' actual imprisonment, to be served starting from the day of
                                    his arrest.

                                B. Three years' suspended sentence that the Defendant will not serve unless
                                    within five years from the date of his release from prison he commits an
                                    offense of lntentionally causing death, including all its derivatives.

                                C. Compensation to the estate of the Deceased in the sum of N1510,000 that will
                                    be paid via a voucher deposit that the Defendant deposited, whose number is

                                    0018211230.




                                The Sentence constitutes a reference to incarceration for Alaa Raed Saleh
                                                   R"d""t"d8596
                                Zughayer, lD No.

                                Right of appeal as a matter of law.
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 14 of 142




               lssued and announced today, 9.9.2019, in public, and in the presence ofthe

               parties involved.




               lhandwrittensienaturel lhandwrittensisnaturel lhandwrittensienaturel

                  Judge                    PresidingJudge                           Judge




                                                      6




           CONFIDENTIAL                                                  SHATSKY-J D01867-T
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CONFIDENTIAL                                                                                                              SHATSKY{D01875-

                                                                                                                                              22063

 IEnglish] State of Palestine                                                                        [Arabic] State of Palestine
 Ministry of Detainees & Ex-detainees Affairs                  [Emblem of the               Ministry of Detainees & Ex-detainees Affairs
                                                            Palestinian Authorityl
 Gen. Dep. Detainees & Ex-detainees                                                                Gen. Dep. Detainees & Ex-detainees



                                          Personal lnformation of Prisoner / Ex-Prisoner                                            288017
            OK
                                                                                                                                     Rasha

 Form no.:                                                        PfiSOnef NO.: accordinrto requlations
 Form issuance date:         8/22/20t6                    Ministry's administration/branch:                   Hebron



1. Basic information concerning the prisoner/ex-prisoner:
                                                                                                               ,lj;rff#ii:,:{Ti,:;fr.*I'#

 Doc. Type:            M Palestinian              Jerusalem                lsraeli                        Passport                 Other (


 Doc. No.
 Four-part                          -T
                             First name               Father's name
                                                                              8            6
                                                                                           Grandfather's
                                                                                              name
                                                                                                          9          5
                                                                                                                                Family name
 name:
                     Alaa                      Raed                                     Saleh
                     Rdebd
 DoB                         fg2                          Place of birth                Hebron
 Gender:             El Male         tr Female            Nationality:                  Palestinian
 Religion:           Muslim                               Mother's name:                Dina[*l
 Marital status:     EI Single                            tr Married                    O Divorced                            DWidow
 Education:          E llliterate         tr Elementary      D High school            tr Diploma          El university         E Higher education

 Specialtv/Major
 Organization:
                                                                                                                              1O
 Refugee status:                    refugee tr Not a
                                                                                        tr Other {
                                                                                                                         f'
 Profession prior    tr Public servant D Work No.: (                              )                                                              )

 to arrest:
 Work type:          tr Military tr Civilian
 Permanent           Country: Palestine                                    Governorate: Hebron
 residence:

                      Address:
    Landline Tel.:                                              Fax No.:
    Cellular Tel.:                                              2nd cellular Tel.:

    E-Mail:           Redacted


    Notes


t

CONFIDENTIAL                                                                                                                  SHATSKY-JD01875-T
    Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 16 of 142

CONFIDENTIAL                                                                                                         SHATSKY.JDO1876-T

    IEnglishl State of Palestlne                                                                      [Arabic] State of Palestine
    Ministry of Detainees & Ex-detainees Affairs                  [Emblem of the             Ministry of Detainees & Ex-detainees Affairs
    Gen. Dep. Detainees & Ex-detainees                         Palestinian Authorityl
                                                                                                    Gen. Dep. Detainees & Ex-detainees


3. Current Arrest lnformetion:


    Arrest date:        7ls/2016                                                    Type of arrest:           E Security    ! Civilian
    Arrested from:      D Home I Crossing E Other                                   Current prison:
    Arrest status:      I Detained   fl Sentenced                  E Administrative                   tr Other
    ln case of life     Dav           Month       Year             Expected release date              Dav         Month    Year
    sentence                                                       according to verdict:
    according to
    tcRc
    Certificate
    Sentence date:            /      /                             Release date:
    Notes:


4. lnformation concerning previous arrests: Previous arrests: (only those attested to by lcRc certificatesl

      No.       Arrest type         Arrest Date       Release date             Prison                 Arrest period               Notes
             (security/civilian)                                                              DaY        Month Year
     t
     2.
     3.
     4.
     5.
     6.
     7
     8,
     9.
     10.
     71.


5. Health Condition (of the prisoner\ex-prisoner)

    Do you suffer any illnesses?         DYes [No                         The illnesses:
    Date illness began:                   /       /
    Do you suffer from disability        trYes trNo                       Type of disability    /       tr Chronic trTemporary
    / handicap?                                                           handicap
    Disability/handicap                       %                           Disability attested to        trYes trNo
    percentage                                                            by a reoort:
    Medical report date:                                                  lssued by:
    Notes:


3




CONFIDENTIAL                                                                                                        SHATSKY-JD01876-T
 Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 17 of 142

CONFIDENTIAL                                                                                             SHATSKY-JD01877-T


 lEnglish] State of Palestine                                                              lArabic] State of Palestine
 Ministry of Detainees & Ex'detainees Affairs             [Emblem of the          Ministry of Detainees & Ex-detainees Affairs
                                                       Palestinian Authorityl
 Gen. Dep. Detainees & Ex-detainees                                                   Gen. Dep. Detainees & Ex-detainees



6, lnformation Concerning the Beneficiaries of the Prisoner/ex-Prisoner's Allowance:

A. First Beneficiary:

 Name (First Benefi ciary):      Alaa Raed Saleh Zughayer                                Relationship:         The prisoner
                                                                                                               himself
 Document Type:                                                                          Doc. No.:
 Tel. No.:                                                                               Cellular Tel. No.:
 Governorate:                    Hebron                                                  Complex:              Redacted
 Bank:                           Red acted                                               Branch:
 Account No.:                             Red acted                                                  Current account in shekels
                                                                                                     on
 ln Case the Sum is              No.:                               Percentage:                 %
 Divided:


B. Second Beneficiary (lf Exists):

 Name (First Benefi ciary):                                                             Relationship:
 Document Tvpe:                                                                         Doc. No.:
 Tel. No.:                                                                              Cellular Tel. No.:
 Governorate:                                                                           Complex:
 Bank:                                                                                   Branch:
 Account No.3                                                                                       Current account in shekels
                                                                                                    onlv
 ln Case the Sum is               No.:                             Percentage:                 %
 Divided:


 Aoolicant's Notes:
 Confirmation:                I the undersigned confirm and testifo that all of the information provided in this application
                              is correct and I take              for it
 Aoplicant's Signature:


4



CONFIDENTIAL                                                                                             SHATSKY-JD01877-T
    Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 18 of 142



CONFIDENTIAL                                                                                                      SHATSKY-J001878-T

7. For Official Use:

    Advisor/Employee's Name:            Muhammad Iillegible]
    Advisor/Emplovee's Notes:
    Date!                               8122/2016              Signature:                              Ihandwritten signaturel
    Administration Head's Name:         lbrahim ilt€
    Administration Head's Notes             ndwritten
    Date:                               8/2912016              Sta        and


Attached Documents: Check (v) alongside attached documents (confirmation and approval of the Administration's head)
    g       Prisoner/Ex-prisoner's copy of lD                        tr         ICRC certificates
    g       Indictment following arrest, after 1.1,2007              tr         Verdict decision (if available)
    a       Copy of bank account card                                tr         Copy of authorized marriage certificate
    tr      Copies of children's birth certificates                  tr         Addendum of additional wife/wives
    tr      Copies of education certificates                         tr         Original report for percentage of disability/handicap
    tr      Other (specify)


8. Confirmation and Approval

    1. Confirmation by Prisoners' Affairs     E I approve the confirmation of the Prisoner Form (per regulations and lawsl
    Name of authorized employee:
    Datel                                                      Stamp and
                                                               signature:
                                              D I do not approve the confirmation of the Prisoner Form
    Reasons and causes:


    2. Confirmation by Legal Affairs:         E I approve the confirmation of the Prisoner Form (per regulations and laws)
    Name of authorized emplovee:
    Date:                                                      Stamp and
                                                               signature:
                                              I I do not approve the confirmation of the Prisoner Form
    Reasons and causes:



5

CONFIDENTIAL                                                                                                      SHATSKY-JD01878-T
      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 19 of 142




                                  CONFIDENTIAL                                                          SHATSKYJDOI8SO-T

                                       [hondwritten note in Arobic:] Alaa Roed Soleh Zughayer Abdel Nosser Al-Noubani
                                                                  The lndictment . 76 August 2016




                              ln the Military Court                         Court File:         t6l
                              Judea                                         Prosecution File: 26291t6

                              Before a panel                                Police File: 330558/16 (Ash          [handwritten note in
                                                                                                                 Arobic:l [illegible
                                                                   ln the case between
                                                                                                                 wordl to Wednesday
                              The Military Prosecutor                                                            76 August
                                                              -
                                                                                            The Plaintiff

                              lhandwritten in Arabic:l Alaa Raed Saleh Zughayer / Duro / Hebron                   The Military Court in Judea

                                                                            -vs-                               Received by: _       Lital


                              Alaa Raed Saleh Zughayer
                                                                                                               On:14August2016
                                       Redacted8595,          Redacted
                              lD No.                   Sorn              1992, resident of Dura

                                      ned since 5 July 2016
   Iround stamp in Arabic:]
             PLO
Department of Detainees and
                                                                                             The Defendant
        Ex-detainees
    27 September 2016
General Department for Legal                                             lndictment
           Affairs
          Checked
         lndictment

                              First Count:

                              Nature of the Offense:Membership and activity in an unlawful association, an offense
                                             pursuant to regulations 85(1Xa) of the Defense (Emergency) Regulations,
                                             1945, and Section 199c of the Security Provisions Order [Consolidated
                                                Versionl (Judea and Samaria) (No. 1651), 5770-2009'

                              Details of the Offense:The Defendant, within the Region, during the period that began
                                              in 2013 and continued until the day of his arrest or during a period
                                                thereabouts, was a member or acted as a member in an unlawful
                                                association, i.e.:

                                                 L During 2013 the Defendant participated in a meeting where tens of
                                                    operatives on behalf of the lslamic Bloc organization, which is an
                                                    unlawful organization, attended. At the meeting, those present
                                                    discussed the planning and organization of the upcoming elections.
                                                 2. ln the course of the planning, tasks were distributed among the
                                                    participants. The Defendant was asked to work at persuading
                                                    students to vote for the lslamic Bloc, and he indeed did so'
                                                 3. ln 2015 an lslamic Bloc operative, Shahim Qadi, approached the
                7t28t21                             Defendant to request help in selling memory cards at a fair
                      j.b

         Salem 14
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 20 of 142




                           organized by the Bloc. The Defendant brought ES,0O0 worth of
                           merchandise from his business, and Abdel eader sold it and paid the
                           Defendant back for it.
                       4. During 2016, lbrahim Salhub, an lslamic Bloc operative, approached
                          the Defendant and asked him to give him merchandise for his
                          business in order that it be sold via the lslamic Bloc, and the
                           Defendant assented. However, lbrahim was arrested before the
                           Defendant brought the merchandise to him.
                       5. Also during 2016, the Defendant sold merchandise from his business
                          to Muhammad Hmeidat, to the amount of ru17,000, in order that he
                          sell it later at the lslamic Bloc's fair in the context of Student Day at
                          the Polytechnic University.
                       6. After the fair, Suhib Ali Shukri Jneidi (hereafter, "Suhib Jneidi") came
                          to the Defendant's business. Suhib Jneidi returned some of the
                          merchandise to the Defendant and paid him consideration to the
                          amount of ru4,500. ln addition, Suhib Jneidi told the Defendant that
                          the Bloc owed him an additional ru8,500.
        CONFIDENTIAL                                                           SHATSKY-JDO1880-T
    Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 21 of 142




                      CONFIDENTIAL                                                               SHATSKY-J D01881.7

                                                              2) Aloo Zughoyer


                                       7. Moreover, during 2016 Suhib Jneidi approached the Defendant and
                                           asked for his help in bringing election placards for the Bloc,
                                           containing pictures of the Bloc's operatives, for use as part of the
                                           election campaign at the university, The Defendant traveled to
                                           Ramallah and picked up the placards, which were used during the
                                           elections at the university in a presentation intended to persuade
                                           the students to vote for the Bloc.
                                       8. By his actions as above, the Defendant was acting as a member of
                                           the lslamic Bloc, which is an unlawful association,


                      Second Count:

                      NatureoftheOffense: lntentional causation of death, an offense pursuant to Sections
                                      209(a) and 199c(b) of the Security Provisions Order [Consolidated Version]
                                      (Judea and Samaria) (No. 1651), 5770-2009.

                       Detailsof theOffense: The abovenamed Defendant, within the Region, intentionally
                                      caused the death of another person, i,e':

                                       1. Roughly two months before his arrest, Mohamed Jabara Ahmed Al-
                                           Faqih (hereafter, "Faqih") approached the defendant and requested
                                           his assistance in obtaining a video camera, Hamas headbands, Hamas
                                           flags, two pairs of army boots, and two army uniforms.
                                       2. From the items requested, the Defendant understood that Faqih was
                                           planning to perpetrate a terror attack against lsraeli targets, along
                                           with a partner, and that he intended to film his testament before
                                           perpetrating the terror attack,
   [round stamp in Arabicl
             PLO
                                       3. The Defendant referred Faqih to the Defendant's brother Abdallah
Department of Detainees and                and suggested that he accompany him to a shop named Saafin. Faqih
        Ex-detainees
    27 September 2016                      complied with the Defendant's advice, and together with Abdallah he
General Department for Legal
           Affairs
                                           went to the shop named Saafin. There, he purchased military boots
          Checked                          and a military uniform.
         lndictment
                                       4. Roughly three weeks before the terror attack, Faqih spoke with the
                                           Defendant and told him that he had been asked by his superiors to
                                           find a substitute who would serve in his stead, after he died, as
                                           perpetrator of a further terror attack. The Defendant suggested his
                                          friend Salim Muslim Yasser Mohamed Ahmed (hereinafter: "Salim").
                                          But Faqih asked for a different able-bodied man'
                                       5. Roughly a week before the terror attack, Faqih approached the
                                          defendant and told him that he was interested in purchasing a
                                          vehicle with which he could perpetrate the terror attack, Faqih asked
                                          the Defendant to join him for the purchase of the vehicle, and the
                                           Defendant assented.
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                       6. The Defendant set out in Faqih's vehicle, a Hyundai (hereafter also
                          "the Hyundai") which was carrying two Kalashnikov rifles and 4 full
                          magazines of bullets, and the two of them made their way to the
                          automobile showroom in Surif. There, they met a man and Faqih
                          purchased an Opel (hereafter, "the Opel") from him. Then the
                          Defendant and Faqih began the return trip to Dura.
                       7. While Faqih made his way back to Dura in the Hyundai, the
                          Defendant had consented to drive the Opel back. However, knowing
                          that the Opel would be used in perpetrating a terror attack, and
                          fearing that he would be seen driving that vehicle and thus
                          associated with the terror attack, he agreed to drive it only to the
                          entrance to Dura. ln Dura, the Defendant switched places with Faqih
                          so that inside Dura, the Defendant was driving the Hyundai and Faqih
                          was driving the Opel.
                       8. The Defendant parked the Opel near Faqih's home, and then Faqih
                          drove the Defendant home in the Hyundai.
                       9. At or near the end of June, Faqih approached the Defendant and
                          asked him to pay the remaining balance of ru6,000 shekels from a
                          loan that the Defendant had taken from Faqih. Faqih told the
                          Defendant that he needed the money urgently because he was
                          planning to undertake an action from which he might not return.
                          Faqih asked that, in case of his death, the Defendant repay the
                          balance of the debt to his brother Suhib. The Defendant assented. tn
                          light of that conversation, the Defendant understood that Faqih
                          intended to perpetrate the terror attack soon,
        CONFIDENTIAL                                                           SHATSKY-JD01881-T
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                   CONFIDENTIAL                                                          SHATSKY-J001882-T

                                                          3) Aloo Zughoyer
                                  10. Roughly a week before the terror attack, Faqih requested the
                                     Defendant's help in passing a message.
                                  11. Faqih handed the Defendant a written note (hereafter, "the
                                      Despatch") and asked him to go to the Al-Kharas Mosque in Hebron
                                      and, having removed his shoes and placed them on the far left-hand
                                      shoe shelf, place the Despatch in his shoes for someone else to come
                                      retrieve. The Defendant assented to Faqih's request and took the
                                     Despatch from him.
                                  12. The Defendant set out for the Mosque in accordance with Faqih's
                                      instructions, but he forgot to leave the Despatch where Faqih had
                                     instructed him to leave it. Upon hearing that, Faqih told the Defendant
                                     to return to the Mosque because there were people waiting for
                                     confirmation. The Defendant quickly made his way back to the
                                      Mosque.
   Iround stamp in Arabic:]       13. The Defendant opened the Despatch that Faqih had handed to him
             PLO
Department of Detainees and           and read its content: "The target has been monitored. Friday of this
        Ex-detainees                 week must be the day for the feat."
    27 September 2016
General Department for Legal      14. The Defendant returned to the Mosque and followed Faqih's
           Affairs
          Checked                     instructions. The Defendant waited for the man who was to retrieve
         lndictment                   the Despatch. At a certain point, someone did arrive and retrieve the
                                      Despatch, replacing it with another note.
                                  15. The Defendant took up the note that the person had left and he
                                      opened it. Written there was: "You'll be expected at the Al-Ahli
                                      Mosque in Hebron after afternoon prayers Tuesday ."
                                  16. From what he had read in the Despatch, the Defendant understood
                                      that the terror attack was to be perpetrated afterward on Friday'
                                  L7. Laler, the Defendant met with Faqih and passed the note to him. The
                                      latter read it and then tore it up and threw it from the window.
                                  18. Some days before the perpetration of the terror attacl( Faqih asked
                                      the Defendant to arrange an apartment for him where, dressed in a
                                      military uniform and flanked by Hamas flags, he could record his
                                      testament before perpetrating the terror attack. From Faqih's request,
                                      the Defendant understood that Faqih intended to perpetrate the
                                      terror attack in the name of the Hamas organization.
                                  19. The Defendant agreed to arrange an apartment for Faqih, and to that
                                      end he approached his friend Muslim and asked him for a key to the
                                      student dormitories, since he knew that, at that time, the dormitories
                                      were unoccupied because the students were on vacation' Muslim
                                      passed the Defendant the keys to a student apartment at the
                                      dormitories.
                                  20. On 29 July 2016 the Defendant invited Faqih to join him for a fast-
                                      breaking meal at Muslim's home. The two walked to Muslim's home,
                                      and at the end of the meal, the Defendant went outside with Faqih' As
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                           they conversed, Faqih told the Defendant that everything was ready,
                           and he asked that the rest of the debt be repaid to his brother Suhib.
                       21. The Defendant returned to Muslim's apartment and told him that
                           there would soon be a terror attack.
                       22. On 1 July 2016, Faqih set out together with Mohamed Abdel Majid
                           Mohamed Al-Amayreh (hereafter, Mohamed Al-Amayreh") to
                           perpetrate a shooting terror attack against lsraeli targets, with the
                           intent of murdering lsraelis. ln the past, the two had made a number
                           of attempts but without success.
                        23. The two met at the Salah A-Din school, where they replaced the
                            Palestinian license plates of Faqih's Hyundai with lsraeli license
                           plates, so that their vehicle would not arouse suspicion and so that
                           the military would not stop them.
                       24, Subsequently, the two made their way toward Route 60, armed with
                           the Kalashnikov rifles, and searched for an lsraeli vehicle that they
                           could target in the shooting terror attack.
                       25. At the same time, a grey Toyota with license plate number 63L3732
                           (hereafter, "the Toyota" andlor "the lsraeli Vehicle") was making its
                           way along Route 60 from Otniel toward Jerusalem, carrying Rabbi
                           Michael Mark of blessed memory, his wife, and two of their children.
        CONFIDENTIAL                                                          SHATSKY-JD01882-T
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              CONFIDENTIAL                                                                 SHATSKY{D01883-T

                                                         4) Alao Zughoyer
                                 26. Mohamed Al-Amayreh and Faqih noticed the Toyota with its lsraeli
                                     license plates as it traveled in front of them toward Jerusalem. The
                                    two drove after the Toyota for some minutes, and then Mohamed
                                     Al-Amayreh drew closer to the Toyota and accelerated.
                                 27. At this point, Faqih took one of the Kalashnikov rifles they had with
                                     them in the vehicle, cocked it, and prepared it for firing.
                                 28. Faqih asked Mohamed Al-Amayreh to catch up with the lsraeli
                                     Vehicle, and accordingly, Mohamed Al-Amayreh accelerated and
                                     drew alongside the lsraeli Vehicle while driving at its left in the
                                     opposite lane,
                                 29. When they were close to the lsraeli Vehicle, Faqih extended the
                                     weapon from the vehicle's window and aimed it toward the lsraeli
                                     Vehicle.
                                 30. When the two were only 2 meters away from the lsraeli Vehicle,
                                     Faqih began massively firing in its direction, hitting the lsraeli Vehicle
                                     with about 25 bullets, and the lsraeli Vehicle overturned with its
                                     occupants inside.
                                 31. After several seconds of constant fire, the two passed the lsraeli
                                     Vehicle and began moving slightly away from it. At a distance of
     Iround stamp in Arabic:l
               PLO
                                     about 20 meters, Mohamed Al-Amayreh turned the car around, back
  Department of Detainees and        in the direction of the lsraeli Vehicle, noticing that the lsraeli Vehicle
          Ex-detainees
      27 September 2016              had overturned.
  General Department for Legal
             Affairs             32. At that point, Faqih left the Hyundai and made his way toward the
            Checked                  lsraeli Vehicle, holding a Kalashnikov rifle, in order to continue firing
           lndictment
                                     at the occupants of the vehicle and ensure that they were dead.
                                 33. Upon reaching the lsraeli Vehicle, Faqih shot again at its passengers,
                                     but was obliged to halt upon instruction from Mohamed Al-
                                     Amayreh, who noticed that additional vehicles were approaching the
                                     place.
                                 34. Faqih returned to the vehicle, and the two made their way back to
                                     Dura.
                                 35. By his deeds as described above, Faqih and Mohamed Al-Amayreh
                                     intentionally caused the death of the vehicle's driver, Michael Mark
                                     of blessed memory, who was struck in the body by five bullets and
                                     in the head by one, and they brought injury to the vehicle's
                                     passengers,
                                 36. During their drive back to Dura, Faqih told Mohamed Al-Amayreh
                                     that in the vehicle they had shot at, there were small children but he
                                     didn't manage to shoot them.
                                 37. Moreover, Faqih told Mohamed Al-Amayreh of his intent to carry
                                     out additional shooting attacks at lsraeli targets after being
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                          designated a wanted man, and even told him where he could find
                           him after his designation as such.
                       38. When the two reached the Salah A-Din school, they replaced the
                          vehicle's license plates with its regular Palestinian license plates and
                           dropped the lsraeli license plates into a trash can.
                       39. Afterwards, the two took their leave from each other. Each of them
                           was carrying one of the Kalashnikov rifles that they had been armed
                           with during the attack.
                       40. On that same day, Faqih contacted the Defendant and asked him to
                           go quickly to the Great Mosque of Dura. The Defendant assented
                          and set out. As he was traveling, the Defendant heard a news report
                          of the shooting terror attack and understood that Faqih had
                          perpetrated the attack. However, the Defendant, because of a
                          request from his father, was obliged to postpone his meeting with
                          Mohamed.
                       41. Later, the Defendant met with Faqih. The Defendant entered Faqih's
                           Hyundai and the two of them spoke about the terror attack. The
                          Defendant asked about the vehicle that had served for the terror
                          attack, and Faqih explained that he had chosen to perpetrate the
                          attack from the Hyundai rather than from the Opel because the
                          Hyundai was faster, and he further related that he had replaced the
                          vehicle's license plates with lsraeli license plates.
        CONFIDENTIAL                                                          SHATSKY-JD01883-T
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                     CONFIDENTIAL                                                          SHATSKYJDOlSS4-T


                                                             5) Aloa ZughoYer
                                    42. ln addition, Faqih informed the Defendant that he intended to hide
                                        in a building that was under construction, but the Defendant
                                        suggested that Faqih sleep in the student dormitory of the
                                        university, and the Faqih agreed.
                                    43. As they traveled, the Defendant allowed Faqih to use his mobile
                                        phone and Faqih sent text messages from it to his wife and to
                                        another person named Yusuf Hamdan.
                                    44. During their conversation, Faqih showed the Defendant a hole in the
                                        driver's door, caused by a stray bullet during the terror attack. Faqih
                                        requested that the Defendant repair the hole and deduct the cost of
                                        the repair from the balance of the debt. The Defendant assented to
                                        Mohamad's request.
                                    45. The Defendant led Faqih to an apartment in the student dormitories
                                        and opened it with the key that Muslim had previously given him.
                                    46. On that same day, Faqih sent a message to the Defendant asking him
                                        to top up his phone card by rat15 and the defendant did so. ln
                                        addition, the Defendant sent a message to Faqih asking him whether
                                        he wished the Defendant to see to food for him.
                                    47.fhe next day, the Defendant met with Muslim and informed him
                                        that Faqih had perpetrated the shooting terror attack; and he asked
                                        Muslim to help him repair the vehicle that had served Faqih in the
                                        terror attack and been damaged by a stray bullet. Muslim assented'
                                    48. Muslim took his father's vehicle, which was a Kia Sportage, and set
                                        out together with the Defendant to a building supplies shop located
   Iround stamp in Arabic:]
             PLO
                                        near Faqih's home. There, the two purchased sealing material,
Department of Detainees and             automotive paint, and quick-acting glue.
        Ex-detainees
    27 September 2016               49. Next, the two walked to Faqih's home and they noticed the Hyundai.
General Department for Legal
           Affairs                      Then the Defendant suggested that they drive in the two vehicles to
          Checked                       the university quarter in Hebron and make the repair there. Muslim
         lndictment
                                        assented to the suggestion.
                                    50. The Defendant set out in Faqih's vehicle to the university quarter in
                                        Hebron, while Muslim drove there in his father's vehicle; and there
                                        they repaired Faqih's vehicle by means of the materials that they
                                        had purchased.
                                    51. When the repair was finished, the Defendant returned Faqih's
                                        vehicle to his home while Muslim drove behind him in his father's
                                        vehicle; and after he parked the vehicle, Muslim picked the
                                        Defendant up and drove him home.
                                    52. On that same day, the Defendant took Muslim's father's vehicle and
                                        made his way to the student dormitories. There, the Defendant
                                        collected Faqih  -together with Faqih's possessions, including two
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                           satchels, military uniforms and a Kalashnikov
                                                                           - and drove him to his
                           parents'home.
                       53. As they traveled, the Defendant updated Faqih with more messages
                          that Yusuf Hamdan had sent for Faqih, and Faqih took the
                           Defendant's phone and used it to send further messages.
                       54. After they reached his parents' house, Faqih got out of the car and
                          the Defendant told him that on the same evening he would drive
                          him back to Hebron. Faqih's brother Suhib came to the vehicle that
                           the Defendant was driving, took Faqih's satchels and the Kalashnikov
                           rifle from it, and transferred them to a Peugeot.
                       55. On or around 3 July 2016, the Defendant transferred a backpack via
                           Omar Aida. ln a phone conversation with Omar Aida, the Defendant
                          asked that after his brother Abdullah Zughayer opened his business,
                          the Defendant would pass the backpack to him. Later, the Defendant
                          arrived, put a passport into the backpack, and put the backpack into
                          a storage compartment in the shop.
                       56. By performing the abovementioned deeds, the Defendant was an
                          accomplice in intentionally causing the death of Rabbi Michael Mark
                          of blessed memory.




        CONFIDENTIAL                                                           SHATSKY-JD01884-T
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        CONFIDENTIAL                                                                SHATSKY-JDo1885-T

                                                6) Alao Zughayer
        Third Count:

        Natureof theOffense: Attempting to intentionally cause death, an offense pursuant to
                      sections 198, 209(a) and 199c(b) of the security Provisions order
                         lConsolidated Versionl (Judea and Samaria) (No' 1651), 5770-2009'

        Details of the Offense: The aforementioned Defendant, in the Region, tried to
                        intentionally cause the death of another person, i.e.: The said Defendant,
                         at the time and period stated in the second count of the indictment, by
                         performing as stated in the second count of the indictment, was an
                         accessory to the attempt to intentionally cause the death of Chava Mark.

        Fourth Count:

        Nature ofthe Offense: Attempting to intentionally cause death, an offense pursuant to
                         sections 198, 209(a) and 199c(b) of the security Provisions order
                         [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-2009'

        Detailsof theOffense: The said Defendant, in the Region, attempted to intentionally
                       cause the death of another person, i.e.: The said Defendant, at the time
                       and period stated in the second count of the indictment, by performing as
                       stated in the second count of the indictment, was an accessory to the
                         attempt to intentionally cause the death of Tehila Mark.

        Fifth Count:

        Natureof theOffense: Attempting to intentionally cause death, an offense pursuant to
                      sections 198, 209(a) and 199c(b) of the security Provisions order
                         [Consolidated Version] (Judea and Samaria) (No. 1551), 5770-2009'

        Detailsof theOffense: The said Defendant, in the Region, attempted to intentionally
                       cause the death of another person, i.e.: The said Defendant, at the time
                       and period stated in the second count of the indictment, by performing as
                       stated in the second count of the indictment, was an accessory to the
                         attempt to intentionally cause the death of Padia Mark.

         Witnesses for the Prosecution:

             L sergeant Major yosef Mashiach, Personal lD No. ^"""""'7743, Ashkelon (taker of the
                Defendant's statements of 7 July 2015 and 27 JulV 2OL6l.
             2. Sergeant Major Eihab Halabi, Personal lD No. ^"o'"o7743, Ashkelon (taker of the
                Defendant's statements of 19 July 2016 and 25 July 2016).
             3. Senior Staff Sergeant Major Benny Gavriel , Personal lD No. ""'""2867, Hebron
                (preparer of a forensic investigation summary and photo board from 3 July 2016
                 (chain of exhibit).
             4. Advanced Staff Sergeant Major Eli Barsheshet, Personal lD No, "*"""'2193, Hebron
                 (preparer of a forensic investigation summary and photo board from 3 July 2016
                 and 11July 2016 (chain of exhibit)'
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            5. Senior Staff Sergeant Major Malul Hillel, personal lD No. "*""'0795g, Hebron
                (preparer of an action report from 10 July 2016).
            6. lnspector Yisrael Ben chamo, Personal lD No. ^*"*7034, Hebron (preparer of a visit
                report from 3 July 2015).
            7. Superintendent Ofer Chelouche, lD no.^-""5572, Forensics.              [round stamp in Arabic:]
            8. Padia Mark (details in the prosecution file)                                     PLO
                                                                                   Department of Detainees and
            9, Ma'amun Hija (details in the prosecution file)                              Ex-detainees
                                                                                       27 September 2016
            10, Jihad Hija (details in the prosecution file)
                                                                                   General Department for Legal
            11. Aslam Abdel Hamid Bad (details in the prosecution file)                       Affairs
                                                                                             Checked
            12. Mohamed Abdel Majid Mahed al-Ameira, lD No. R"d""t"d 1792                   lndictment
            13. Suhib Jabara Ahmad Faqih, lD No. R"d"d"d6702 .
            14. Mouad Khaled Ahmed Faqih, lD No. R"d"t"d7122 .
            15. Mohamed Yousuf Mohamed Barwish, lD No, R"du"t"d6427 .
            15. Taghrid Jabara Ahmed Faqih, lD No. R"dud"d3536 .


        CONFIDENTIAL                                                          SHATSKY-JD01885-T
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        CONFIDENTIAL                                                            SHATSKY-JD01886-T

                                       Aloo Zughoyer



            17. Expert opinion by Yair Dalber.
            18. Expert opinion by Avi Kaufmann.
            19. Expert opinion by Prof. Uzi Motero.



            Exhibits:                                                                       Iround stamP in Arabic:]
                                                                                                      PLO
                                                                                         Department of Detainees and
            20. Toyota vehicle, Exhibit No. 00189337                                             Ex-detainees
            21. 6 bullet fragments, Exhibit No. 00516497                                     27 September 201 6
                                                                                         General Department for Legal
            22. Bullet from the victim's head, No. 0273t877                                         Affairs
                                                                                                   Checked
            23. 20 bullet fragments, Exhibit No. 02091557                                         lndictment

            24. Kalashnikov rifle (serial no. 2108787li, Exhibit No' 0510392J
            25. Hyundaivehicle, Exhibit No. 0510395J'




                                                                                       Isignature]

                                                                1st Lieutenant Meital Reihani

                                                                           Military Prosecutor




         CONFIDENTIAL                                                            SHATSKY.JDO1886-T
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          Translator's
          Certifi cation
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    UNITED STATES DISTRICT COIJRT
    SOUTHERN DISTRICT OF NEW YORK
    SHABTAI SCOTT SHATSKY, e/a/.,

                                    Plaintiffs,
                                                          Case No. 18-cv-12355 (MKV)




    THE PALESTINE LIBERATION
    ORGANIZATION ANd THE PALESTINIAN
    AUTHORITY,

                                  Defendants.



                                 DECLARATION OF YAIIIV BERMAN

            I, Yaniv Berman, declare pursuant to 28 U.S.C. g 1746, as follows:

            1.      I am a professional translator with an M.A. degree in Middle Eastem Studies from

    the Hebrew University of Jerusalem (Israel). I read Arabic, Hebrew, and English fluently, and I

    am qualified to translate from Arabic into English and from Hebrew into English'

            2.      I certiff that the attached documents are true and accurate tanslations of the

    Arabic and/or Hebrew originals with the corresponding Bates numbers. The translations are

    labelled with Bates numbers that correspond to the original documents, with the addition of a'1

    T" at the end to indicate that it is a translation'

            3.      To the extent that some of the information in the original documents was not

     clear$ legible, I have translated such information into English to the best of my ability. Such

     instances are marked with an asterisk ("[*]").
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            I declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct.

                                                           f--""-   '"-..
     Dated: July 26,2021                                   i t-..l !
                                                           )      Yaniv Berman




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           AcCording to the information received fronr the lsraeti Authorities, the lnternational Corntniriee r.:f tire Rr,r:
           Cross attests that:


           Mr.           ALAA RAEN SALEI-I ZGHAYER

           From          iIEERON                                                    lD NO. Redacted36g6


           Was arrested by the lsraeli Authorities on (dd/rnmiyyyy)                 05.07.2016

           He is to date: Awaiting Trial




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     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 38 of 142

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               AcCording to the information received from
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                                                                              lsraeli                    the lnternational Comrnittee of the Red
               Cross attests that:


               Mr:           ALAA RAED SALEH ZGHAYER

               From          HEBRAN                                                                lD NO. Redacted86g6


               Was arresied by the lsraeli Authorities on (dd/mmlyyyy):                            05.07.2016

               lle is to date: Awaiting Trial




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                                                                    lsraeli Authorilies, the lnternalional committee oi the Red
               AcCording to the information received from the
               Cross attests that:


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               From:         HEBRON
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               He is lo date: Awaiting Trial




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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 40 of 142

CONFIDENTIAL                                                                                                                                SHATSKY-JD01861




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   C IC R                 rhis attestation is valid onty if the Enstish and Arabic parts match each other


          According to the information received from the lsraeli Authorities, the lnternational Committee of the Red
          Cross attests that:

                                                                                                                                     ,fl7
           Mr:         ALAA RAED SALEH ZGHAYER

          From         HEBRON                                                        lD NO:R"d""t"dg6g6


          Was arrested by the lsraeli Authorities on (dd/mm/yyyy): 05.07.2016


          He is to date: Sentenced

          Length of sentence / administrative period: j6.5.29                                  months, days




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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 41 of 142
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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 42 of 142

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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 43 of 142
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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 44 of 142

CONFIDENTIAL                                                                                                                         SHATSKY-JD01865




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CONFIDENTIAL                                                                                                                SHATSKY-JD01866




               6752/t6 : '9D P)tl                  n'iln)f )Nftn uSVrDn n)f                      0q/09/19 ; J)1Nn


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CONFIDENTIAL                                                                                                              SHATSKY-JD01867



               6752/t6: '9h P)n                        n't)nrf )Nftn DluDn n)f                  09/09/19 :'l)lNtl


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               )y nlnrt n))nnu lnN)t pr11 D))n))N'ln bt)Up) trny't nN])n) O)1"tlnu lnN) Oi:1JU'
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CONFIDENTIAL                                                                                                                                      SHATSKY-JD01868




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                                                  TO WHOM IT MAY CONCERN


    CICR                    This attestation is valid only if the English and Arabic parts rnatch each other



               AcCording to the information received from the lsraeli Authorities, lhe lnternational Comrnittee
                                                                                                                of the Red
               Cross attests thal:


                Mr:         ALAA RAED SALEH ZGHAYER

                Fronr       HEBRON                                                        lD NO. RedactedScg6

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               Was arrested by the lsraeli Atrthorilies on (dd/mm/yyyy)               05.07,2016
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               He is to date. Awaiting Trial




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CONFIDENTIAL                                                                                                                                    SHATSKY-JD01869




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               MT:           ALAA RAED SALEH ZGHAYER

               Fronr:        HFBRON
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               Was arrested by the lsraeli Aulhorities on (dd/mmryyyy,l:
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               He is to date: Awaiting Trial




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          Date: 17.07.2016
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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 49 of 142

CONFIDENTIAL                                                                                                                             SHATSKY.JDOl 870




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                                                  TO WHOM IT MAY CONCERN


   CICR                     This attestation is valid only if the Englislr and Arabicparts match.each other



               According to tlre information received from the lsraeli Authorities, the lnternational Committee of the l?ed
               Cross attests thatl


               Mr:          ALAA RAED SALEH ZGHAYER

               From         HEBRON                                                            lD NO: Redactedg6g6



               Was anesled by the lsraeli Aulhr:rilies on (dd/mmlyyyy)                        05.07.2016


               He is to date: Awaiting Trial




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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 50 of 142

CONFIDENTIAL                                                                                                                                   SHATSKY-JD01871




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                                                      TO WHOM IT MAY CONCERN                                     L}
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   CICR                     This attestation is valid only if the English and Arabic parts match oach



               According to the information teceived from the lsraeli Authorities, the lnternational Committee
                                                                                                               of the Recl
               Cross attests that:


               Mr:          ALAA RAED SALEH ZGHAYER                                                                       R
               From         HEBRON                                                  ID NC)               96



               Was arresled by the lsraeli At,thorities on (dd/mm/yyyy):            05.07.2016

               He is to date: Awaiting Trial




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                                                                                                                                                   SHATSKY-JD01872
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               According to the information received from lhe lsraeli Authorities, lhe lnternational Com                                                         hor
               Cross atlests that:


               Mr:                ALAA RAED SALEH ZGHAYER

               From               HEBRAN                                                        lD NO. Redact€d3696



               Was arrested by the lsraeli Atrthorities on (dd/mmlyyyyl                           05.07.2016


               He is to date: Awaiting Trial




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                Aceording to the infonnation received fronr the lsraeli Auutorities,
                                                                                     the lnternational Conrmittee of the Red
                Cross attests lhat:


                Mr:           ALAA RAED SALEH ZGHAYER

                From          HE€RON                                                                lD NO- R€dactedg6g6


                Was arrested by the lsraeli ALrthorities on (dd/mm/yyyy):                          05.07.2016

                He is to date: Awaiting 'r rial




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                    AcCording to the irrfonnalion received from the lsraeli Authorities, the lnternational Conrmittee of the Red
                    Cross attests thal:


                    Mr               ALAA RAED SALEH ZGHAYER

                    From             HEBRON                                                             lD NO' Redacted8696



                    Was arrested by the lsraeli Authorities on (dd/mmlyyyy): 05.07.2016

                    l-le is to date: Awaiting Tri'.tl




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            According to the information received from the lsraeli Aulhorities,
                                                                                the lnternational Committee of the Red
            Cross attesls that:


            MT: ''.       ALAA RAED SALEH ZGHAYER

            From:         HEBRAN                                                   lD No: Rd""t"d86g6


            Was anested by the lsraeli Authorities on (dd/mm/yyyy)                 05.07.2016

           He is to date: Awaiting Trial




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     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 65 of 142

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                    Exhibit 159
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                                                 Prisc ner       S:atement
 Pnsoner no. 288017
 Pnsoner Name: Alaa Raed Sal eh Zughayer                     Docunrent no. 851 368696
 Month Year Beneficiary                          lD rp          Bank Name               Branch   Account nc     Salarr




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                             Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 68 of 142




                                                      Prisoner Sa     Statement
Prisoner no. 288017
Prisoner Name: Alaa Raed Saleh                      Document no. 851368696
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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 69 of 142




          Translator's
          Certifi cation
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 70 of 142




    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
     SHABTAI SCOTT SHATSKY, elal.,

                                      Plaintiffs,
                                                              Case No. 1 8-cv-12355 (MKV)

     v

      THE PALESTINE LIBERATION
      ORGANZATION and THE PALESTINIAN
     AUTHORITY,

                                    Defendants



                                  DECLARATION OF YAI{IV BERMAN

            I, Yaniv Berman, declare pursuant to 28 U.S'C. 51746, as follows:

             1.      I am a professional translator with an M.A. degree in Middle Eastem Studies from

     the Hebrew University of Jerusalem (Israel). I read Arabic and English fluently, and I am

     qualified to translate from Arabic into English.

             2.      I certiff that the attached documents are true and accurate hanslations of the

     Arabic originals designated as "shatsky-JD00012" through "Shatsky-JD00534." The

     translations are labelled with Bates numbers that correspond to the original documents, with the

     addition of a "-T" at the end to indicate that it is a translation.

             3.      To the extent that some of the information in the original documents was not

     clearly legible, I have translated such information into English to the best of my ability. Such

     instances are marked with an asterisk ("[*]").
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 71 of 142




            I declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct.

                                                                r'* *
    Dated: June 24,2021
                                                                      anlv




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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 72 of 142




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     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 73 of 142




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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 75 of 142




                    Exhibit 160
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 76 of 142




   SHATSKY-JD01666-T                                                                           CONFIDENTIAL


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                        the Defendant, and performed advance reconnaissance at the place the Defendant had
                        found. The Defendant and Abdul Rahman Miqdad reached the vicinity of the Talita Kumi
                        School and found the place suitable for the perpetration of the terror attack. The
                        Defendant instructed Abdul Rahman Miqdad to perpetrate a shooting terror attack at that
                        place together with additional operatives.
                    2. At around the same time, Abdul Rahman Miqdad asked Ali Mohamed Hammad Haliel
                        (hereafter, "Ali Abu Haliel"), a military operative, to go perform advance reconnaissance
                        in the area of the Talita Kumi School because a shooting terror attack in that vicinity was

                        being planned. Ali Abu Haliel assented and set out for the place at approximately 2:00 in
                       order to make sure there were no obstacles along the way. ln addition, Abdul Rahman
                        Miqdad recruited lzz al-Din Halid Hussain al-Hamamra (otherwise known as lzz al-Din
                       Alyan; and hereafter, "lzz al-Din Alyan) and military operative lsmail Abdul Rahman
                        Mohamed Al-Farajin (hereafter, "lsmail Al-Farajin) for the perpetration together of the
                       shooting terror attack.
                   3. At around 3:00, Ali Abu Haliel called Abdul Rahman Miqdad and updated him, telling him
                       that there was no impediment to perpetrating the planned attack.
                   4. Accordingly, Abdul Rahman Miqdad, armed with a Kalashnikov rifle, headed out with lzz
                       al-Din Alyan, who was armed with an M16 rifle, as well as lsmail Al-Farajin, who was
                       armed with an M16, toward the place in order to carry out the terror attack. lsmail Al-
                       Farajin drove them in a vehicle that he had brought.
                   5. \Men they reached the intended vicinity, Abdul Rahman instructed Ali Abu Haliel to
                       return home; and Abdul Rahman Miqdad andlzz al-Din Alyan hid nearthe spot, at a
                       distance of 20 meters from the road, ready to ambush passing lsraeli vehicles. lsmail Al-
                       Farajin stayed inside the vehicle.
                   6. At 3:30, a military jeep passed by and Abdul Rahman Miqdad and his comrade opened
                       fire at the jeep.
                   7. The jeep continued driving, Abdul Rahman Miqdad and his comrade fled toward the
                       vehicle where lsmail Al-Farajin was waiting for them, and they fled the place together.


   Fifth Count: (Police File 09891/04. Soecial Duties Deoartment - Jerusaleml
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
  Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
  SHATSKY-JD01666-T                                                                            CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 77 of 142




  SHATSKY-JD01667-T                                                                           CONFIDENTIAL


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                1. At the start of January 2004 or thereabouts, Abdul Rahman Miqdad contacted military
                      operative Ahmad Mughrabi and asked the latter to introduce him to military operatives
                      who would help him manufacture explosive substances and explosive devices with the
                      intent of perpetrating terror attacks against lsraeli targets. He also asked for help in
                      locating potential suicides for the purpose of mounting suicide terror attacks. Accordingly,
                      Ahmad Mughrabi contacted military operative Ali Abu Haliel and proposed that the latter
                      meet someone (meaning Abdul Rahman Miqdad) and assist him in his military activity. Ali
                      Abu Haliel met with Abdul Rahman Miqdad in accordance with Ahmad Mughrabi's
                      instructions. At the meeting, Abdul Rahman Miqdad asked for his help in manufacturing
                      explosive materials. Ali Abu Haliel assented.
                2. Around the same time, military operative Hilmi Abd Al-Karim Muhammad Hamash
                      (hereafter, "Hilmi Hamash") approached Ali Ju'ara and suggested introducing him to a
                      military operative who would send him to perpetrate a suicide terror attack. Ali Ju'ara
                      (hereafter, "the Suicide Bomber") expressed his willingness.
                      Accordingly, Hilmi Hamash introduced the abovenamed Defendant to the Suicide
                      Bomber, and at that meeting, the Defendant assessed his readiness to perpetrate the
                      suicide terror attack.
                      During the meeting, the Suicide Bomber expressed readiness to perpetrate the terror
                      attack. Accordingly, the Defendant asked the Suicide Bomber to prepare to perpetrate the
                      suicide terror attack.
                3. At around the same time, Ali Abu Haliel approached Abdul Rahman Miqdad and informed
                      him that he had succeeded in obtaining two kilograms of explosive material of the "Umm
                      al-Abd" type, and some acetone as well. on that occasion, Ali Abu Haliel gave Abdul
                      Rahman Miqdad the "Umm al-Abd" explosive material and Abdul Rahman Miqdad asked
                      him to pass the acetone to him, and some hydrogen peroxide as well, as used in the
                      manufacture of explosive materials.
                4. The next day, Abdul Rahman Miqdad met with Ali Abu Haliel and received from him 36
                      liters of acetone along with 10 liters of hydrogen peroxide. Abdul Rahman Miqdad told Ali
                      Abu Haliel that he intended to use those materials in manufacturing explosive materials
                      to serve a suicide bomber in the perpetration of a suicide terror attack. On this occasion,
                      Ali Abu Haliel explained to Abdul Rahman Miqdad how to mix the materials in order to
                      manufacture the explosive material. Abdul Rahman Miqdad concealed the materials in his
                      home.
                5. Some days later, the Defendant came to the home of Abdul Rahman and told him that he
                      had found a person willing to perpetrate a suicide terror attack.
                      On 28 January 2OO4 or thereabouts, the Defendant approached Abdul Rahman Miqdad
                      again and asked him to urgently prepare an explosive satchel with the explosive material
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                       at his disposal because he intended to send the Suicide Bomber out for the suicide terror
                       atlack.
                       At that point, Abdul Rahman Miqdad asked the Defendant to buy him materials for
                       assembling the explosive satchel [which included, inter alia, a satchel, batteries, a switch,
                       etc. ...1. The Defendant assented;




   SHATSKY-JD01667-T                                                                           CONFIDENTIAL
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  SHATSKY-JD01669-T                                                                            CONFIDENTIAL



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  Sixth Count: (Police File 0989{/04. SDecial Duties DeDartment - Jerusaleml
  Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730- 1970; and Sections
                          2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225),5728-1968-
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Ms' Hannah
                          Bonder of blessed memorv.


   Seventh Gount: (Police File 09891/04. Soecial Duties Department - Jerusalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                           Ihe Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Ms. Anat
                          Darom of blessed memorv.


   Eiqhth Gount: (Police File 09891/04. Special Duties Department - Jerusaleml
   Natureof theOffense: lntentionally causing death, an offense pursuantto Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and j4 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                           party to intentionally causing the deaths of others; specifically:
                           The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                           intended to bring death to lsraeli citizens and to which the Defendant was a party as
                           stated in the fourth count of indictment, brought death to [handwritten:]@S!99$!

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   SHATSKY-JD01669-T                                                                           CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 80 of 142




   SHATSKY-JDO1670-T                                                                           CONFIDENTIAL


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   Ninth count: (Police File 09891/04. soecial Duties Deoartment - Jerusalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Mr. Vladi
                          Zadik Manbera of blessed memorv.


   Tenth count (Police File 09891/04. soecial Duties Deoartment - Jerusalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Mr. Viorel
                          Octavian Florescu of blessed memorv.


   Eleventh Gount: (Police File 09891/04. soecial Duties Department - Jerusalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                           2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225),5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suiclde Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Ms. Rose
                          Boneh of blessed memorv.




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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 81 of 142




  SHATSKY-JD01671.7                                                                             CONFIDENTIAL


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  Twelfth Gount (Police File 09891/04. Special Duties Deoartment - Jerusaleml
  Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and 14 of the Griminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
  Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Ms. Dana
                          Itach of blessed memorv.


   Thirteenth Count: (Police File 09891/04. Soecial Duties Deoartment - Jerusalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                          party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                          stated in the fourth count of indictment, brought death to [handwritten:] Mr. Roman
                          Hondiashvili of blessed memorv.



   Fourteenth Gount: (Police File 09891/04. Soecial Duties Department - Jerusaleml
   Natureof theOffense: lntentionally causing death, an offense pursuantto Sections 51(a) and 7(c) of the
                          Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                          2, 14, and't9-20 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-
                           1968.

   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                           party to intentionally causing the deaths of others; specifically:
                          The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                          intended to bring death to lsraeli citizens and to which the Defendant was a party as
                           stated in the fourth count of indictment, brought death to [handwritten:] Mr. Eli Zfira
                           of blessed memory.


   SHATSKY-JD01671-T                                                                            CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 82 of 142




   SHATSKY.JDO1672.T                                                                             CONFIDENTIAL


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   Fifteenth count: (Police File 09891/04. soecial Duties Deoartment - Jerusaleml
   Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                           Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and Sections
                           2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                           party to intentionally causing the deaths of others; specifically:
                                    The Suicide TerrorAttack perpetrated by Ali Ju'ara the Suicide Bomber, which
                                    was intended to bring death to lsraeli citizens and to which the Defendant was
                                    a party as stated in the fourth count of indictment, brought death to
                                    [handwritten:] Ms. Natalia Gamril of blessed memorv.


   sixteenth count: (Police File 09891/04. soecial Duties Deoartment - Jerusaleml
   Nature of the Offense: Attempting to intentionally cause death, an offense pursuant to Section 51(a) and 7(c)
                           of the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970; and
                           Sections 2, 14, and 19-20 of the Criminal Liability (Judea and Samaria) Order (No.
                           225),5728-1968.
   Details of the Offense: The abovenamed Defendant, within and outside the Region, on 29 January 2004, was
                           party to an attempt to intentionally cause the deaths of others; specifically:
                           The Suicide Terror Attack perpetrated by Ali Ju'ara the Suicide Bomber, which was
                           intended to bring death to lsraeli citizens and to which the Defendant was a party as
                           stated in the fourth count of indictment, dealt injuries, some light and some heavy, to
                           more than 50 citizens, and the Suicide Bomber died.


  Seventeenth Count (Police File 17869/04. Moriah Stationl
  Nature of the Offense: lntentionally causing death, an offense pursuant to Sections 51(a) and 7(c) of the
                           Security Provisions (Judea and Samaria) Order (No. 378), 5730- 1970; and Sections
                           2 and 14 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968.
  Details of the Offense:The abovenamed Defendant, within and outside the Region, on 22 February 2004,
                           was party to intentionally causing the death of others, as follows:
                    1. Some days before the abovementioned date, Abdul Rahman Miqdad and military
                        operative lzz A-Din Alyan were planning to perpetrate a suicide terror attack with the
                        objective of bringing death to lsraeli citizens.
                        Izz A-Din Alyan notified Abdul Rahman Miqdad that he had located a man named
                        Muhammad Za'ul (hereafter, "the Suicide Bomber") who was willing to carry out the
                        suicide terror attack.
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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 91 of 142

CONFIDENTIAL                                                                                                                SHATSKY-JD01672




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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 92 of 142

CONFIDENTIAL                                                                                                                                      SHATSKYJDOl6S3
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      ,{ccorcJing 1o the infornration raceived fronr the lsraeli Authorities, the lnternalional Conlnittee of

      tire ficd Cross certifies tiral :
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                                                                                                                                                \'1"1 ?
      Mr:           Al"lMAD SALAT'|AHMAD SALAH

      Fronr    :      BETHLEI.IEM                                                                          lD No:
                                                                                                                     *"0"o*96g-6


      Was arrcsted by the lsraeli Authorities on (dd / rnrn I yyyy) :                                   0A.03.2004

      He is to date      :                        Sentenced
                                                                                                                        \t)
      Lengtir of sentence I administrative periocJ : life sentence

      He/she was released on (rld/nrnrtyyyy): XXXX)(xxx .xxxxxxxxxxxxxxxxxxxxxxxx




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      Place: BETHLEIIEM/NR                                                                                I          ICRC
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      Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 93 of 142

CONFIDENTIAL                                                                                                                  SHATSKYJDOl6ST




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        According to the iniormation received fronr the lsraeliAulhorities, lhe lnlernational Committee r;f

        tlre Rud Cross certifies thai :

        Mr: AHMAD SALAI{ AIIMAD SALATI
        Frorn: BETHLEHEM                                                                 lD llo:Reddgtis-6

       Was arrested by the lsraeli Auilrorities on (dd / nrm / yyyy) :             08.03.20C4

        He is to date :             Sentenced

       Length of sentence / adrninistralive periocl : life senlt.,nce

       Fle/She was releascd on {rld/mrr/yyyy): XXXX.:{XX){ ;/\XXXXXX)(XXXXXXXX}:XXXXXXXXXXXXX}




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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 94 of 142




                    Exhibit 16I
                     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 95 of 142




                                             Prisoner      Statem:nt
 Prisoner no. 51520
 Prisoner Name: Ahmed Salah Ahmad Salah                 Document no. 901739656
 Month Year Beneficiary                      lD na         Bank Name           Branch   Account no.    Salary




                                             Redacted




4        2020   Ahmed Salah Ahmad Salah                                                                2,14't.56
5        2020   Ahmed Salah Ahmad Salah                                                                  141.56
6        2020   Ahmed Salah Ahmad Salah                                                                2.541.56
7        2020   Ahmed Salah Ahmad Salah                                                                2.141.56
8        2024   Ahmed Salah Ahmad Salah                                                                2.141.56
 I       2A2A   Ahmed Salah Ahmad Salah                                                                2.141"56
 10      2420   Ahmed Salah Ahmad Salah                                                                2.141.56
 11      2020   Ahmed Salah Ahmad Salah                                                                2.'t41 56
 12      2020   Ahmed Salah Ahmad Salah                                                                2.541.56
 1       2021   Ahmed Salah Ahmad Salah                                                                2.141.56
2        2021   Ahmed Salah Ahmad Salah                                                                2,141.56

                                                        Page 1 of2

Confidential                                                                                 Shatsky-JD00494-T
                  Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 96 of 142




                                           Prisoner      Statement
Prisoner no. 51520
Prisoner Name: Ahmed Salah Ahmad Salah                Documentno. 901739656
Month Year Beneficiarv                   I lD no.       I Bank Name           Branch   Account no-     Sala
3       2A21 Ahmed Salah Ahmad Salah     l"e*,o9656                                                      14
4       2021 Ahmed Salah Ahmad Salah             9656                                                  2.089.38
5       2021 Ahmed Salah Ahmad Salah             9656                                                  2.089.38

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Confidential                                                                                 Shatsky-JD00495-T
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 97 of 142




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    Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 98 of 142




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     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 99 of 142




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COHFIBENTIAL

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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 100 of 142




                     Exhibit 162
  Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 101 of 142




                  CONFIDENTIAL                                                                           SHATSKY-JDOI,954-T

   Palestinian National Authority                                 ln the name of Allah, the         Palestinian National Authority
                                                                 Mercifu I, the Compasslonate
   Ministry of Detainees & Ex-detainees affairs                                                     Ministry of Detainees & Ex-detainees affairs
                                                                     IPalestlne embleml
   Ex-detainees Rehabilitation Program                                                              Ex-detainees Rehabilitation Program


                             7681                                                                                 Date:9.25.2016

                  Honorable General Director of Detainees & €x-detainees affairs,
                                                                                                              @
                  6reetings,

                                        Re: Couplinl a previous arrest period with the current period

                  Please join together the previous arr€st peraods and the current arrest period ofthe prisoner
                  Amiad Adel Muhomad Aliwibearer of lD no. RMdS@ who is currently detained, on
                  10.6.2015. as we have confirmed his arrest oeriods and revealed thev are securitv-related.
                  See them as follows:

                                                                                  Yeor Month Days
                oK t- 4.8.2002 until7O.8.2002                                                   6
                oK 2- 3.4.2003 until6,!!p@                                        I             3        70
Illleeible]     oK 3' 8.37.1995 until 1.70.7996                                                 4        10
                oK 4- 10.26. 1992 until 7. 5. 7993                                              8        9
                oK 5- 3.8.2007 unail9.2.2OO8                                      7             6        @
                                                                                  2             27       23


Please ottach indictments and court rulings to the [iilegible]
                                                                                  4323
before taking the meosures-
                                                                        With the utmost respect and appreciation
Audit
                                                                                                                                          OK
 11.21.2016

                  [Stamp:]        Pto                                     [Stamp:]        Pto
                                  Detaines and Ex-Detaines                                Detainees and Ex-Detaines
                                  Affalrs Commission                                      Af{aic Dept.
                                  l{ablus Dlrstorate                                      Illlegiblel




                  Palestine Ramallah P.O. 3ox 21O5 Tel O2-242A57U2                Palestlne Ramallah P.O. Box 21O5 Tel O2-24285742

                  Dlrectorate Nablus - Tel XX-XXXXXXX- Fax 09-233O123             Dlrectorate Nablus - Tel 09-231 4125 - Fax XX-XXXXXXX




                  CONFIDENTIAL                                                                           SHATSKY.JDO1954.T
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 102 of 142

CONFIDENTIAT                                                         17889                                            SHATSKY.JDO1963.T
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OK

 [English] Palcstlnlan Natlonal Authority                         IEmblem of the                     lArabicl Palestinian National Authorlty
 Mlnlstry of De:alnccs & Ex-detalnccs Affalrs                  Palestinian Authorityl           Mlnlstry of Dctalnccs & Erdctainecs Affalrs
 Gcn, Dep. Dctalnces & Ex-dctalncas                                                                      Gen. Dcp, Dctalnecs & Ex-dctalnees



                                                              Main Prlsoner Form                                                    7681[iilesible]

 Form no.:
 Form lssuance date:          1.25.20L6                     M inistry's admlnistration/branch:             Nablus
                                                                                                                                         Ex-Detainees
                                                                                                                                                        Afiairi
                                                                                                                                         checked /

1. Baslc information concerning the prisoner:
                                                                                                   ffi f,;T;';'":'?1"'ii;l'"'**l'1
                                                                                                   lndictments

 lD no. {9 digitsl                                                                          5                5                  8              7

 Four-part                   Flrst name                   Father's name                   Grandfather's                     Famlly name
 name:                                                                                        name
                       Amiad                      Adel                                  Muhamad                     Aliwi
 Mother's              Sabiha                                                           Gender:                  ,dm"t"              il Female
 name:
 DoB:                                  I L972                                           Place of birth:
 Education:            fl llllterate                           n        school      n                  !                    n           educrtion
 Professlon            Laborer                                                          Organlzatlon:
 prlor to arrest:
 Arrest date           LOI 6 /201s                                                  Place of arrest:   Meeido Detention Center
 Arrest 3tatus:                             E Sentenced            I Administratlve             E Free            O other
 ln case of llfe       Dav             Month      Year             Expected release date        DaY      Month Year
 sentence                                                          accordlng to verdlct:
 according to
 tcRc
 Certificate
 Permanent             Governorate:         Nablus                 Residential complex:               Redacted
 resldence:
 Notes:


2, lnform.tion conccrnlng previous and current arrastr:   q!b.3q!. Only tho3c attcat.d to by ICRC certlficatar, in chronologicel order from
n€w.3t lo oldctt.

     No.     Arrest          Arrest             Release date                     Arrest                                         Notes
              date                                                                   Month        Year
    1.     10.6.2015                    ln the detention center
    2      3.8.2007                     9.2.2008
    3      lo.26.1992                   7.5,1993
    4.     ?.4.200?                     6.L4.2404
    5      4.8.2002                     10,8.2002
    6.     8.31.1995                    1.10.1996



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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 103 of 142




        SHATSKY{DO1966.T                                                                                           CONFIDENTIAL
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                                                                                                [handwritten: 1 .4.20161


        ln the Military Court
                                                                                    the
                                                                                                Court    file:     3568/15
                                                                was liled in
        Samaria                         [stamP: This indictment                                 Prosecution file:. 2393 I 1 5
        Before a panel                  Military Court       on: lhandwritten: 17               Police   File: 3593/15
                                        December 20151                                                             3202t15
                                         Recorded in the court docket'                                             4257t15
                                                                               5]
                                         file number: [handwritten: 3568/1                      (Tenorist Activities Peiah Tikva)
        ln ihe case of                   Signature: [Signature]l

                                                            The Military Prosecutor
                                                                                           - The Plaintiff -


                                                                    - versus -

        [Handwritten in Arabic: Security-related]
                         stamPJ                           Amiad Adel Mohamed Aliwi
      [Arabic language
                PLO
                         Department
                                                         (Detained since 6 October 2015)
Deblnees & Ex-Detalnees
           2 March 2015                   No. Red5587, born Redacted 1972, resident of Nablus
                        LeEal Affaits
 General Department for
               Checked                                                                    - the Defendant -
             lndidments


                                                                    llllicltrcll
       The abovenamed Defendant is herebv indicted for commitlinq the followino offenses:
        First Count:
       Nature of the Offense:                            and activity in an unlawful association, an ofiense pursuant to
                                        Regulations             85(1)ia) of the Defense Regulations (Emergency) - 't945.
       Details of the Offense: The                                       within the Region, was a member or acted as a member
                                        of an unlawful                towit:
                                        Starling at a date noi             precisely to lhe Prosecution but no eadier than the
                                        second half of 2014, or                     the Defendant was a member of the Hamas
                                        organization (hereafter, "Hamas"), which is an unlawful association. As a member of
                                        that organization, the Defendant acted as stated in the following counts of indictment
                                        and as described below:
                              a. During the second halt o12014 or thereabouts, Bassem Amin Mohamed Saeh (hereafter,
                                  "Bassem") spoke with ihe Defendant about joinl military activity under the aegis of
                                  Hamas. Subsequenlly, the Defendant introduced Amjad to Fares Sa'di Abdallah Khalfa
                                  (hereafter, "Fares") and Mohammed lmad Ramadan Qutb (hereafter, "Mohammed") in
                                  hopes that lhe latler two would join with Amjad in military activity.
                              b. Thereafler, having been instructed by Bassem, Fares headed to the Al-Hamidiyya
                                  Mosque, or a place nearby, and met wilh the Defendant- At that meeting,




       SHATSKY.JDO1966-T                                                                                          CONFIDENTIAL
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   SHATSKY.JDO1967-T                                                                               CONFIDENTIAL

                       the Defendant and Fares spoke about future military activity. At the same meeting, the
                       Defendant informed Fares of his desire lo find explosives for the purpose of military
                       activity. Then, prompted by the words of the Defendant, Fares told the former thal he was
                       able to perform the necessary activity, speciflcally including the manufacture of explosive
                       material for the mililary activi$. Subsequently, before parting, the Defendant and Fares
                       agreed lo meet again in order to make progress on the military activity.
                c.     During July 2A14 or thereabouts, the Defendant and Omar Mohammed Salim Abdel
                       Karim Breik (hereafter, "Omar") spoke about joint military activity in the lorm of terror
                       attacks against lsraeli targets. On that occasion, the Defendant detailed to Omar his
                       desire to fnd explosives and financial backing for the ac,tivity. ln response, Omar agreed
                       to assist the Defendant in the matter.
                       ln February 2015 or lhereabouts, in Nablus or the vicinity, the Defendant assented to a
                       proposal from lyad Wadi'Tawfiq Abu Zahra (hereafter, "lyad") to take military action on
                       behalf of the Hamas organization. On this occasion, the Defendant proposed to lyad the
                                    of Ragheb Ahmad Mohammed Aliwa (hereafter, "RagheU'). The Defendant
                               to that recruitment.
                          April 2015 or ihereabouts, in or near Nablus, the Defendant recruited Ragheb to a
                       military cell (hereafter, "the Military Cell") under the Hamas organization. The Military
                       Cell had set itself the objective of perpetrating a shooting attack against lsraeli targets,
                       and it intended to use weaponry that the Defendant would find for the purpose. ln
                       addition, the Defendant asked Ragheb lo recruit an additional person to help the Military
                       Cell in its activity. The latter assented to the request on condition lhat he would not reveal
                       the additional recruifs identity to the Defendant.
                 f. During April 2015 or lhereabouts, the Defendant and Bassem spoke about the joint
                       military aclivity. On lhat occasion, the Defendant informed Bassem about further people
                       who had long numbered among the Military Cell, and the two agreed that Bassem would
                       help in the financing of the Military Cell's activities, specifically including funding of the war
                       maleriel that it would use, while the Defendant would see io the recruitment of further
                       operatives for the cell and to the transfer of lhe war maleriel into their hands. The two also
                       agreed that Mohammed would help them with their miliiary activity. Then Bassem
                       approached Hamza Saleh Rifat Ya'ish (hereafter, "Hamza") and proposed to the latter
                       lhe purchase of weaponry some of which would be used for the cell's military activity. The
                       latter assented lo the ProPosal.

                 S. ln May 2015 or thereabouts, Bassem passed to the Defendant approximalely o53,000
                       which he had received from Hamza for the purpose of procuring weaponry to be used for
                       the Military Cell's activity. Then the Defendant approached Ghaleb Sa'id Ghaleb
                       Kharyush (hereafter, "Ghaleb") and asked assistance ftom the latler in finding weaponry.
                       The lafter did as requested.
                       Subsequently, the Defendant and Mohammed made their way toward Al-Rawda Street.
                       When theY arrived,
   SHATSKY.JDO1967-T                                                                                CONFIDENTIAL
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         SHATSKY-JD01968.7                                                                                    CONFIDENTIAL


                               h    Subsequently, ihe Defendant transfened to Mohammed a box containing bullets. Then,
                                    as inslructed by Bassem, Mohammed put the abovementioned box into a hiding place.
                                    During August 2015 or thereabouts, and in light of Ragheb's request, the Defendant
                                    approached Bassem and asked for the return of the handgun for the purpose of the
                                    Military Cell's activig. Accordingly, Bassem gave the handgun to Mohammed and asked
                                    the latter to pass it to the Defendant. As requesled, Mohammed passed the handgun to
                                    the Defendant, who then, as stated, passed it to Ragheb.
                               j^   On a number of occasions during the activity of the Military Cell, the Defendant received
 IArabic lanSuage stamPJ
           PLO
                                    various sums of money fom lyad, amounting to thousands of shekels, for the purpose of
 Detainees & Ex-D€tainees
        DePartment                  the cell's activily.
       2 March 2016
General DePartment for legal        The Defendant's membershio in Hamas and in the Militarv Cell continued until the
          Affairs
          Checked                   date of his arrest.
        lndidmentg

         Second Count:
         Nature of the Offense: Attempted intentional causation of death, an offense pursuan! lo Sections 209(a) and
                                         198 of the Security Provisions Order [Consolidated Version] (Judea and Samaria)
                                        (No. 1651),5770-2009.
         Details of the Offense: The abovenamed Defendant, within the Region, aftempled to intentionally bring death
                                        to a person; to wil:
                               a. During August or thereabouts, at Beit Furiq Junction or nearby, using the weapon that the
                                    Defendant had purchased and passed to Ragheb as stated above, and under the
                                    agreement with Ragheb, the members of lhe Military Cell under the responsibility of the
                                    Defendant
                                                 - Yahya and Samir - perpetsated a shooting lerror attack against an lsraeli
                                    vehicle wilh the inlent of bringing death to a Jewish resident as part of iheir activity in the
                                    Military Cell.
                               b. One day after perpekaling the shooting attack, or thereabouts, Yahya and Samir updated
                                    Ragheb regarding lhe perpelration of the abovementioned shooting terror attack at Beit
                                    Furiq Junction and the attack's results.
                               c. Some time afterward, Ragheb approached the Defendant and updated him regarding the
                                    perpetration of ihe abovemenlioned lerror attack. Afler that, the latter updated Bassem
                                    and lyad regarding the shooting terror attack that the cell's members had perpetrated.
                                    Bv their deeds as stated above. the members of the cell attemoted to brino death
                                    to a Jewish resident.


        Third Count:
                    Nature of the Offense: Attempted intentional causation of death, an offense pursuant to Sections
                                                     209(a) and 198 of the Security Provisions Order [Consolidated Version]
                                                     (Judea and Samaria)
                                                     (No.1651), 5770-2009.
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   Details of the Offense: The abovenamed Defendant, within the Region, attempted to intentionally bring death
   to a person; to wit:
                     a. On 30 August 2015, at Beit Jit Junction or nearby, using the weapon that the Defendant
                          had purchased and passed to Ragheb as stated above, Yahya and Samir perpetrated an
                          additional shooting terror attack, at close range, against an lsraeli vehicle, a Hyundai with
                          lsraeli license plate number 70-808-78 (hereafter, "the lsraeli Vehicle") driven by


   SHATSKY-JD01968-T                                                                               CONFIDENTIAL
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   SHATSKY-JD01969-T                                                                        CONFIDENTIAL
   [Translator's note: the fact that the next paragraph is "H", means that this page should probably have been
   places after SHATSKY-JD01 970-Tl


                       M16 model, engraved with serial number 700326K (hereafter, "the weapon").
                       lmmediately afterward, Mohammed and the Defendant met Ragheb. Then the Defendant
                       passed the Weapon to Ragheb, who would be using it for military activity.
                   h. ln June 2015 or thereabouts, the Defendant asked Mohammed to inform Bassem that
                       there was another M16 weapon (hereafter, "the Additional weapon"), priced at rs53,000,
                       which the Defendant wished to purchase. Mohammed did as requested. Two days
                       aftenarard, or thereabouts, the Defendant received the sum of ru50,000 from Bassam,
                       with Mohammed as intermediary. Subsequently, the Defendant asked lyad to examine
                       the abovementioned weapon before the purchase. then, after the weapon was examined
                       by


   [from here onward on this page, reading is impossible because another page was placed on this one]




   SHATSKY-JD01969-T                                                                       CONFIDENTIAL
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         SHATSKY.JDOl9TO-T                                                                                     CONFIDENTIAL

         [handwritten in Arabic: continues from lillegible]l


                                           Ronen Edri at the same time, with the intent of bringing dealh to the latter. The last-
                                           menlioned perpetrated lhe above deeds as part of their activity in the Military Cell.
                                    b. One day after perpetrating the shooting attack, or thereabouis, Yahya and Samir updated
                                           Ragheb regarding the perpetration of lhe abovemenlioned shooting tenor attack at Beit
                                           Jit Junciion and the attack's results.
                                    c.     Sometime afterward, Ragheb approached the Defendant and updaied him regarding the
                       stamP:1
   tArabic lang'uage
   '          Pto                                     of the abovemenlioned tenor attack. After that, the latter updated lyad and
                 Ex-Detainees
   Detainees &
                                                    regarding the mounting of the shooting tenor attack that the cell's members had
                                 Atrairs

"" "",.' "io}fr*jlt'"sar
            hdictmentg
                                           to Ronen Edri.


          Fourth Counl:
          Mlggl!@ftrlECr lntentional causation of death, an offense pursuant to Sections 209(a) and 199c {a
                                    and b) of the Security Provisions Order [Consolidated Version] (Judea and Samaria)
                                    (No.1651), 5770-2049'
          Details of the Offense: The abovenamed Defendanl, within the Region, intentionally caused the death of a
                                               Person; sPecificallY:
                                    a. During September 201 5 or thereabouts, Ragheb and Yahya agreed on a shooting terror
                                       attack to be perpetrated by the Military Cell, during which - besides ihe central objeclive
                                       guiding the Military Cell; in other words, besides bringing deaih to Jewish residents - the
                                        cellwould attempt to kidnap a Jewish resident (hereafter, "the Kidnapping Attack").
                                     b. Subsequently, w1h Yahya and Ragheb having agreed regarding the perpelration of the
                                           Kidnapping Aitack, the latter approached the Defendant and asked his approval and
                                           assislance for the abovementioned terror attack. The latter responded ihat he would first
                                           consull his superiors and then let Ragheb know. Shortly thereafter, Amjad approached
                                           lyad and Bassem, among olhers, and informed them of the cell's desire to perpetrate a
                                           kidnapping attack, and he requesled their approval. They gave their blessing to the plan
                                           for the abovementioned terror attack. Then the Defendant informed Ragheb that they had
                                           approval for perpetrating the Kidnapping Attack and that, as requesled, he would help him
                                           to transport and hide the kidnap victim.
                                     c. On 1 October 2A15, al Beit Furiq Junclion or nearby, the Military Cell over which the
                                        Defendant and others were responsible - and lhe members of which included, among
                                            others, Ragheb, Yahya, Samir, Karam Lutfi Fathi Rizq {hereafter, "Karam"), Zeid Ziyad
                                            Jamil Amer (hereafter, "Zeid")- perpetrated a shooting lenor attack, by use of the
                                            Weapon and handgun that the Defendant had purchased and passed to Ragheb, against
                                            a Mitsubishi vehicle carrying lsraeli license plate number 95-731-10 (hereafter, "the
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                       Mitsubishi") and occupied at the time by members of the Henkin family: Eitam Henkin of
                       blessed memory, Na'ama Henkin of blessed memory, and their four small children.
                       Bv the abovestated deeds. the memberc of the cell intentionallv brouqht death to
                       Eitam Henkin of blessed memory.


   Fifth Count:




   SHATSKY.JDOl9TO-T                                                                     CONFIDENTIAL
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                                                                                                   CONFIDENTIAL
      SHATSKY.JDO1971-T


      Nature of the Offense: lntentional causation of death, an offense pursuant to Sections 209(a) and 199c {a
                             and b) of the Secur1y Provisions Order {Consolidated Versionl (Judea and Samaria)
                                (No. 1651 ), 5770-2009.
                                                                                                                     of a
      Detaits of the Offense: The abovenamed Defendant, within ihe Region, inlentionally caused the death
                                Person; sPecificallY:
                                By the deeds stated in Subsection c of the previous count of   indictment,l@@
                                of the cell intentionallv brouoht death to Na'ama Henkin
                                of blessed memorv.


       Sixth Count:
                                                                                       an offense pursuanl to Sections
       lblC!9A$Ig-gffSIEg: Attempted kidnapping in aggravating circumstances,
                                213(d) and 198 of ihe security Provisions order [consolidated Version]
                                (Judea and Samaria) (No. 1651), 5770-2009'
                                                                                                 person while knowing
       Details of the Offense: The abovenamed Defendant, within the Region, kidnapped a
                                                                                                                  purpose
tArrbic lanBuase
                      sramp:l   thal lhe kidnap victim's life would be in danger, or kidnapped a person for the
 '          PLO
                                of extOftiOn Or thfeat;
       &;x'Deuinees
oetalnees
      Oepartment                tO Wit:
      2 March 2016
e"n"r"r'o"p"ir"ntforlesal By ihe deeds stated in the fourth count of indictment, lhe members of lhe cell
            Affaits
            checked             attempted to kidnap ihe occupants of the vehicle'
        lndlctments


       Seventh Count:
                                                                                                                      and
       Nature ol the Offense: Attempted intentional causalion of death, an offense pursuani lo Sections 209(a)
                              1g8 of the Security Provisions Order [Consolidated Version] (Judea and Samaria)

                                {No. 1651 ), 5770-2009-
        Details of the Offense: The abovenamed Defendant, within the Region, attempted to inlentionally bring death
                                to a Person, to wit:
                                 By the deeds staied in the fourth count of indictment, the members of the cell
                                 atiempted to bring death to M.H., the 9-year-old son of Eitam and Na'ama Henkin of
                                 blessed memory.


        Eiohth Count:
                                                                                                          209(a) and
        Nature af lhg gffsnse.: Attempted intentional causation of death, an offense pursuant to Sections
                                 198 of the Security Provisions Order [Consolidaled Version] (Judea and Samaria)

                     {No. 1651}, 5770-2009.
        gglEilggtlhggfigIE: The abovenamed Defendant, within the Region, altempted to intentionally bring death
                                 to a Person; to wit:
                                 By the deeds stated in the fourth count of indictment, lhe members of the cell
                                 attempted to bring death to N.H., the 7-year-old son of Eitam and Na'ama Henkin of
                           .     blessed memory.
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    Ninth Count:
    Nature of the Offense: Attempted intentional causation of death, an offense pursuant to Sections 209(a) and
                            198 of the Security Provisions Order [Consolidated Version] (Judea and Samaria)
                           (No. 1651), s770-2009.
   Details of the offense: The abovenamed Defendant, within the Region, attempted to intentionally bring death
                           to a person; to wit:
                           By the deeds stated in the fourth count of indictment, the members of the cell
                           attempted to bring death to N.H., the 4_year-old son of Eitam
                           and Na'ama Henkin of blessed memory.


   Tenth Gount:




   SHATSKY-JD01971-T                                                                       CONFIDENTIAL
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        SHATSKY.JDO1972-T                                                                                         CONFIDENTIAL



        Details of the Offense: The abovenamed Defendant, within the Region, attempted to intentionally bring death
                                             lo a Person; to wit:
                                             By the deeds stated in the fourth count of indictment, the members of the cell
                                             alempied to bring death to 1.H., the 1O-monlh-old son of Eitam and Na'ama Henkin
                                             of blessed memory.


         Eleventh Count:
         Nature of the Offense: Harboring, an offense pursuant to Sections 245 and 333 of the Securily Provisions
                                Order [Consolidated Version] (Judea and Samaria] (No'
                                              t651 ), 5770-2009.
        gg&il9-g$b9,,]g$gEEg: The abovenamed Defendanl, within the Region, helped a person, or gave shelter to
                                             some person, who had violated security-related legislation or who was engaging, or
                                             had engaged, in some activity intended to harm the public welfare, lhe welhre of ihe
                                             forces and soldiers of the lDF, and the maintenance of public order, or who could be
                                             reasonably suspected of having done so, whether the means of help consisted of
                                              information, shelter, food, drink, money, clothing, weaponry, ammunilion, supplies,
                                              fodder, means of lransport, kerosene or any other fuel, or whether it was any other
                                              means; to wit:
                                   a. Further to what the fourth count of indiciment relates, one of lhe bullets slruck Karam
                                          during the murderous attack and wounded him in the left arm. Karam was lherefore iaken
                                          to Al-Arabi Al-Takhasusi Hospital, in Rafidiya (hereafter, "lhe Hospital)", for medical
                                          treatment.
                                   b.     A day later or thereabouts, Ragheb approached the Defendant, informed him of Karam's
                                          injury, and asked him to help financially in funding the medical treatment. At that point, the

   lArabic lanS,uage
                       stamP{                           approached Mohammed, informed him regarding the injury that Karam had
              PLO
                                                       in the course of the terror aitack, and asked Mohammad io urgently approach
   Detainees & Ex-Detainees
          DePartment
                                                   in hopes that the latter would help fund the medical treatment. Mohammad did
                                Arrairs
u""",", 0"3{.{]lflsst                        asked, informing Bassem of the murderous attack and ils consequences. Then Bassem
           lndictments                         Mohamrnad lhe sum of ru9,000 for funding Karam's medical treaiment, and the latter
                                          passed the funds io the Defendanl as agreed.
                                   c. Concunently, the Delendant approached lyad, informed him regarding the injury that
                                          Karam had susiained in the course ofthe terror attack, and asked lyad too for assistance
                                          in funding the medical treatment. Then the Defendant passed the sum of ru5,000 to
                                          Amjad for the purpose of funding Karam's medical lreatment.
                                   d. Shorgy aftenvard, when the Defendant had received the money for funding the medical
                                          trealment from his superiors, he gave Ragheb the sum of 1016,000. On lhe same occasion,
                                          the Defendant asked that Karam be moved from the Hospital to Karam's own home' so
                                          as to be treated there by a physician whom lhe Defendant had found for lhe purpose.
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                 e' Eventually, Ragheb approached the Defendant and asked his permission to move Karam
                       back to the Hospital because of the latteCs medical condition. The Defendant assented
                       to the request and told Ragheb to move Karam to the Hospital.




   SHATSKY-JD01972-T                                                                    CONFIDENTIAL
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     SHATSKY-JDO,I973-T                                                                                   CONFIDENTIAL

     Twelfth Count:
     Nature of the Offense: Unlicensed manufacture of an explosive object, an offense pursuant to Section 230
                            {a and b) of the Securig Provisions Order [Consolidated Version] {Judea
                                        and Samaria) (No. 1651)' 5770-2009.
     Details of the Offense: The abovenamed Defendanl, within the Region, manufactured an explosive device
                             with no permit given by or on behalf of a military commander, or in violation of the
                                        terms of the Permit; to wit:
                             a. ln Seplember 2014 or thereabouts, in Nablus or nearby, and in accordance with planning
                                    by the Defendant and Omar regarding the manufaclure of explosive material as siated in
                                    the first count of indictment, Omar gave the Defendant materials for manufacturing an
                                    explosive material.
                             b. Subsequenily, on Fatair Street in Nablus, or nearby, and by prior agreement, the
                                    Defendant and Fares met in order to carry out their plan regarding lhe manufacture of

                   stamP:)
                                    explosive material as staled in the first count of indictment. During the abovementioned
IArabic lanBuage
 '        Pto                       meeting, the Defendant gave Fares chemicals including carbolic acid, nitric acid,
            Ex-Detainees
 Detainees &
        DePartmeN                               acid, some 6 kilograms of ammonium chloride, and other chemicals. The
       I March 2016
                     lor Legal                   received those materials, among others, from Omar as stated above in
generaliePartment
                                                a, for the purpose of manufacturing an explosive malerial'
          checked
                                      month laler or thereabouts, in the Old City of Nablus or nearby, Fares and lhe
                                    Defendant met and the latter took a list of equipment that Fares required for the
                                    manufaciure of the explosive material. Afler another two weeks, or lhereabouls, in keeping
                                    with Fares' request. the Defendant gave him lhe equipment that he had requested for the
                                    purpose of manufacturing an explosive material. lt included a scale, funnel, beakers, an
                                    Erlenmeyer flask, and a filter for straining-
                             d^ ln addition, during lheir abovementioned meeting, the Defendant asked Fares to teach
                                    further operatives about manufacturing explosives. The latter declined the Defendant's
                                    request and suggesled the altemative of passing the Defendant a compact disc
                                    containing video lessons on preparing explosives. The latter accepted the suggestion.
                                    Then the Defendant made duplicates of the abovementioned compact disc and passed
                                    them to the Defendant.
                             e. Subsequently, having learned about other chemicals thai he required in order lo
                                    manufacture an explosive material, Fares approached the Oefendant and gave him a list
                                    of addiiional materials lhat he would need. After another month, or lhereabouts, in keeping
                                    w1h the abovementioned request from Fares, the Defendant passed him 10 kilograms
                                     more of ammonium chloride.
                                 f. At the start of 2015 or thereabouls, in the Old City of Nablus or nearby, the Defendant
                                     met with Fares. On that occasion, the Defendant asked Fares to manufacture explosive
                                     material for him. The latter assented to the request and replied that for lhe purpose, he
                                     would require sulfuric acid. Accordingly, Fares and the Defendant lraveled to a petrol
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                       station on Beit lbba street in Nablus, or somewhere nearby, and there the Defendant
                       purchased sulfuric acid as requested.




   SHATSKY-JD01973-T                                                                   CONFIDENTIAL
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        SHATSKY-JDO,t974-T                                                                               CONFIDENTIAL



                               S. During ihat same lime togelher, and in light of Fares'failures in manufacturing explosive
                                   material, lhe latter gave the Defendant a letter containing questions regarding how to
                                   prepare explosive material. The Defendant took that letter and passed it to lyad.
                               h. Subseguenlty, in the back yard of the house in Nablus or thereabouts, Fares
                                   manufactured an explosive material by means of the chemicals and laboratory equipment
                                   that he had received from the Defendant. Later, and in lhe light of his failure to
                                   manufacture explosive malerial, he approached the Defendant and requesied more
                                   sulfuric acid. Then, on Feisal Street or nearby, the Defendant gave Fares additional
                                   sulfuric acid.
                               i. Later the same day, or lhereabouls, Fares manufactured explosive malerial according to
                                   the instructional videos for manufacturing explosive material which he had previously
                                   watched as stated. ln the end, the latter gave lhe Defendant approximately 't0 grams of
                                   explosive malerial.


        Thirteenth Count:
        Nature of the Offense: Trading in military equipment, an offense pursuant to Sections 233 {b) and 199c (a
                                       and b) of the Security Provisions Order [Consolidated Version] (Judea
                                       and Samaria) (No. 1651), 5770-2009.
        Details of the Offense: The abovenamed Defendant, within the Region, traded or otherwise dealt with war
                                       maleriel while having no permit signed by or on behalf of lhe regional commander;
                    stamg:l
 [Arabic lanBuaBe
           PLO                         to wit:
 Detainees & Ex'Detainees
        DePartment
                                        By acting as stated in the preceding counts of indictment, as the Defendant procured,
       2 March 2016
                   {or Legal           took possession of, or passed to someone else the Weapon, ammunition, and
General DePartment
           Aftalrs                      handgun, he was dealing in war materiel without a legal license lo do so.
          checked


        Fourteenth Count:
        Nglg1gp;.1lg.1]lteg: Trading in military equipment, an offense pursuant to Sections 233(b) and 198 of the
                                        Security Provisions Order [Consolidated Version] (Judea and Samaria] {No. 1651),
                                        5770-2A09.
        Details of the Offense: The abovenamed Defendant, within the Region, traded or otherwise dealt with war
                                        materiel while having no permit signed by or on behalf of lhe regional commander;
                                        towit:
                                        ln July 2015 or thereabouts, in Nablus or nearby, lyad requested the Defendant's
                                        help in procuring hand grenades. The latter assented to ihe request. Accordingly, lyad
                                        gave the Defendant lhe sum of ru6,000 for the purpose of thai purchase. ln the end,
                                        ihe Defendant did not procure lhe requested war materiel.


        Witnesses for the Prosecution:
         Police File 3593/15:
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                              lhandwritten in Arabic: Ofricer Nathir Sadad
      1. "*"5025 Senior Staff Sergeant Major Nathir Sadar (taker of the Defendant's statemenls from 8 October 2ol 5 and 6 Dec€mber
          201s).

                              lhandwritt€n in Arabio: Officer Ghassan Beibarl
      2. *"0'obo39 Master Sergeant Ghassan Beibar (taker of the Defendant's statements from 22 November 2015 and 15 [unclearl
          201s).

                              lhandwritten in Arabic: Officer Radi Khaiibl
      3. i"0"o5588 Master Sergeant Radi Khat b (taker ofthe Def€ndants statements from 13 Ootober 201 5, 20 Ootober 2015, 26 October
          201 5, 3 November 201 5, and 7 December 201 5.)




   SHATSKY.JDO1974-T                                                                                        CONFIDENTIAL
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   SHATSKY.JDO1975.T                                                                                                    CONFIDENTIAL

                              thandlvritten in Arabic. Officer Fares Jabrl
             o*6618
      4.            Advanced Stefi Sergeanl Fares Jabr (preparer of a cover she€t for exhibils daied 1g October 2015).
                                 thandwritten in Arabic: Asaf Ma kal
      5. *"iS20 Superintendent Asaf Malka (preparer of an activity reporl dated 13 November 2015)-
                                 [handwritlen in Arabtc. Ertion [illegiblel]
      6_ *49462 Ertiom Tsamoglez (preparer of a cover sheet for lhe exhibits dated 2 October 2015)-
                                 lhandwitten in Arabic. Sharif Uwidal
      7. *d&117S Sharil Uweida (preparer ot a memorandum daled 1 October 2015, and a cover sheei tor exhibits, an activlty report,
             andaformforsendinq exhibftstotheballisfcslabdated2October20l5and6October20lS).
                                 lhandwntlen in Arabic. Offacer Yoel Hajil
      B. od"1572 Advanced Staff Sergeant Yoel Hagai         {preparer ot a recerpt form for exhibits for review daled 2 October 2015 and 6
             October 2015).
                                 Jhandwritten in Arabic. Amer Suleimanl
      S. e'2S7S Amef Suleiman (preparer of a cover sheel for exh bits dated 4 October 2015, 5 October 2015, and 6 October 2015,
             prepsref of an acknowledgemenl of investigation material received {rom the police on 28 October 2'105, and preparer of a
             memorandum from 10 November 2015).
                                 Ihandwritten in Arabc, Meir Dokel
      10. Sup€rinlendenl Meir Dokel (pteparer of a memorandum daled I October 2015)-
             lhandwiften in Arabic. Ofiicer Yitat Bitonl                       lhondffitten in Arabic: Calculation of eslimates regarding damage
             and losses sustained by lsraell
      11   . L'*t 917 Advanced Staff Sergsant Yrfal Biton Levanon (preparer of the verification ol a confession to causalion of harm as a
             result of operations hoslile to lsrael dated 6 November 2015)
                                 [handwritten in Arabac. Oflicer Avi   Nakarl                      lhandwritten in Arabic Expert in fingerprinlsl

      12. **606S Advanced Staff Sergeanl Avi Nakar (preparer ot a photo board dated 1 October 2015, a forensic examination report
             dated 1 October 2015 snd 4 October 201 5, a report on seizure of exhibils dated 4 October 2015, and a report documenting the
             processing ol lingerprints daled 6 Oclober 2015).

                                 lhandwritten in Arabic Oflicer Torner Ahrakl
      13. **3S33 Serg€ant Major Tomer Ahrak (preparer of a memorandum dated 10 November 2015).
                                 [handwritlen in Arabic- Ofitcer Yaacov Yerushalmi]
      14. *j290 Senior Staff Sergeant Major Yaacov Yerushalmi {preparer of a memorandum dated 16 November 2015).
                                 Ihandwritten in Arabic: Officer Haim Cohenl
      15. e.5117 Senior Non-Commissioned Oflicer Haim Cohen (preparer of a photo board dated 15 October 2015 and an exhibits
             seizure reporl dated 18 October Z)15).
                                                                                                                                                    stamP:]
                                                                          Hassanl                                               lAtabic language
                                 lhandwritten in Arabic: ofticer Amar
      $      d24TlAdvancedStaffSergeantAmarHassan{preparerolamernorandumdated6October20l5).
                                                                                                                                Deuinees&€x-Detainees
                         [handwdtten            in Arabic. officer Sima   Avrahamil                                                    Departm€nt
      l7 *3SSB Masler Sergeant Sima Avrahami (preparer of a receapt for exhibits tor review dated 19 Octobe. 2015). 2 March 2016                         Legal
                                                in Arabrc. yaacov   Grenikl                                                    Genetal Depadmentior
                         lhandwntten
      18. *?380 Yaacov Grenik (preparer of an exhibils sezure {eport dated 4 october 2015)
                                                                                                                                         Atfaits
                                                                                                                                         Checked
                          Ihandwritten in Arabic. Oflicer Majed Shuf            I                                                       tndictments

      19 d*7893 Sergeant Ma.lor Majed Shuli (chain of exhibil).
                                  lhandwritten in Aratlic. lnspector Shlomo Sitonl
             *-10730 lnspeclor Shlomo Siton (preparer of an activity teport dated 6 october 2015).
      20.
                                  lhandwritt€n in Arabic. Otricer Yosi Lamavl
      21. tu3995 Senior Stiefi Sergeant Major Yosi Lamav (prsparer o{ an activily report dsted 6 Octob€r 2015).
                                  [handwritten in Arabc: Officer Shmuel Alyal
      22. *2542 Masler Sergeant Shmuel Alya {preparer of an aclivity reporl dated 3 Oclob€r 201 5}.
                                  Ihandwriften in Arabic. Oflicer Ouni Yuienkl
      23 *!9571 Masler Sergeant Ouni Yujenk (prep8rer of an activity report dated 1 October 2015).
                                  [handwritten in Arabic. Ofiicer Eran Ashkenazi]
             d*!1272 Senior Staff Sergeant Major Eran Ashkenazi (preparer ot an activity report dated 1 October 2015).
       24.
                                  lhandwritten in Arabic. Ofiicer Alex Vanol
       25. tu?695 Senior StBff Sergeant Malor Alex Vino {preparet of an aclivity report daled 1 October 2015).
                                  lhandwritten in Arabic. Omcer Eyal Kalol
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 119 of 142




      26. "**"o65TTMasterSergeantEyalKalo(preparerofanactivityreportdatedlOctober2Oi5).
                              [handwritten in Arabic: Michal Levin Eladl
      27. *""*b354 Superintendent Michal Levin Elad (preparer of an examination report dated 1 2 October 201 5 and 5 November 2015)




   SHATSKY-JD01975-T                                                                                        CONFIDENTIAL
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                                     lhandwritten in Arabic. Ofiicer Tomer Arbelil
      26. Na34B5hspectorTomirtubeli(preparerolanexamioatlonreporldatedl2octa$er2015,18oclober2015.l9october2015.and5November
             2015).
                                     lhanrtwritten in Alabic: Omcer Moshe SpiEenl
      29- Supedntendent Moshe Spitzen {prepare. of an exped oplnion dated 9 November 2015)'
                               tendwritlen in Arabic: OflicerAvi KaufF|anl                        -
      30. Sup€dnten(bnt Ayt (aulman {preparer ol an expert opinion dale{, 13 Oclober 20.15 and 27 October 2015 and preparer ot a conlesson to
          conspiracl lot lhe series of pending incidenls dated 13 october 20'15)
                                  IhandMillen in Arabic: D{. Yun MeAnl
      At. DeFly Cornmissioner Dr. yud Mezin (preparerof a death cerlificale datert I October 2015). thandwritten in Ambici Death cerltfiGtesl
                                      lhandwritten in Arabic: Yosi Eisen]
      32. Yosi Eisen {preParer ol a discdvery vedfi cation dated 15 Oclob€r 201 5}
                                      lhandwritten in Arabic: Captain SfFnuel Rabinorvish,
                                                                                           Delense Forces, delails wilh he Proseculionl

      33- Captain Shmuel Rattinowitz (lDF, delails with lhe Proseculbn)
                                                                                           Forces,, delails with lhe Prosecutionl
                                      [handwritten in Arabic: Oficer Shahar Yonah, Defense
      34. F,rst Lieutenant Shahar Yonah {lDF, details with the Prosecutim}
                                      tlandwdtten in Arabic: Samir Zuheir lbrahim Xusal
      35. M1700 SamirZuheir lbrahim Kus (detainee' Prosecution File 225915)
                                      lhandwtitten in Atatlic: Karam Lutf Fathi Rizql
      36. tte8869 Karam Lulli Falhi Rizq (delainee, Prosecution File 2250t15)                                                                          stamp:l
                                                                                                                                   lArabic languaSe
                            ltEndwritten in Arabic. zeid ziyad Jamil Ametl
      37. M77'10 zeid Ziyad Jamii Amer (detainee, Pmsecutiofl File 2251t15)                                                                                 Department
                                                                                          Jezalal                           ^^r-irce< & Ex-Detainees
                                      thandwntlen in Arabic: Basam Ramhi Daoud Abu                                                       2 March 2016
      38, R€i*1ESSBasamRamnDaoudAbuJezala(detaine€.FrosecutonFile22S5/15) o"^"raroeiaitmentforLes,alAffalrs
                                      lhandwritlen in Arabic: Yania Muhannad NailAbduilah Hajj hamadl                                           checked
      39_ M2046 yahia Muhtmad Naif Abdullah Hai, Hatnad (rfeiainee, Pmsecu !'n File 2252y15).                                                 lndictments
                                      lhandwfitten in Arabic: Muhammad Nasun Abd Ashtiyehl
      40- Rew 1447 Muhamnad l{asuh Abd Ashttyeh (delainee. Ptosecution File 2239/15)'
                                      lhandwritlen in Arabic: Ghaleb sa'id Ghaleb Kharyust{
      41- Fe2142 Ghaleb sa'id Ghateb Kharyush {deiainee, Prosec{lion File 224fv15)
                                      fhandwTitlen in Arabic: Bassam Amin Mohammed Sayehl
       42. R#8834 Eassam Amin itohammed Sayeh (detainee, Prcsecuton File 2305/15)
                                      lhandwrilten in Arabic: Munammad lmad Ramadan Qutbl
       43. R#5744 Muhammd lmad Ramadan Qutb (delaioee. Prossutim File 2285'15)
                                       lhandw'itts in Ardbic: Fares sa'diAbdallah Khalfal
       44. P(s7294 Fares SadiAMallah Khalla (detainee' Prosecution File 2386/15)'
                                       lhandwrinen in Arabic: Hamza saleh Rlfal Yalshl
       45. R#41(M Hamza saleh Rifal Ya1sh {detainee)
                                       thaMwitten in Arabic: Omar iilohammed Salim AbdelKarim Bteikl
       46 R..ffi3882 Omar lrohammed salim Abdel (arim Breil( (delainee)'
                                       Fatldw.itlen in A"bicl Mohamed Nazmi Mohamed Amad
       47- N#0262 Motlamed Nazmi Moharned Amat (released)
                                       lhandwritlen in Atabic: Fares sa'di Abdallah Khaltal
       48 R#          72g€ Fares Sa di Abdallah Khalta (reteased' mobile Phofle numb€r 0599596433)

           thardwritten in Arabici tunahai Azulail                          lhandwitten in Arabic: delails wili the Prosecution]
       49. Atnihai Azulai (detalls with the Prosecution)
               thandwitten in Ambic: Noa Snalkil
       50 Noa shalgi {ddails wilh lhe Ptoseculion)
                                                                                       delails wlh the Proseculion]
               lhandwltten in Arabic: Etilzur Etiahu Trabelsll thandwritten in Arabic:
       51   - Elitzur Eliahu Trabelsl {details wifit fte Ftoseolion)
               lhandwitlen in Arabic: Zvi Gtrenl
       52, Zvi Coren (details wi h lhe Prosecutlon)
               lhandwritten in Aratric: Ovadia Reisensivil
       53. Ovadia Relsenzvi {delails wilh the Proseculion}
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       54-Th€flgurecod€.named'shefier.(Generatsecurityservice){delailswilhthePmsecution)
           lhandwritten in Arabic: The tigure code-named Mauricel                           lhandwritten ln Arabic: General Security Servicesl
       55. the Rgure code-n:vned "Maurice" (G€neral Securily Service) {delails tvith lhe Proseoflion}
    5HATSKy-JD01976-T                                                                                                                  CoNFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 121 of 142




   SHATSKY-JDo1977-T                                                                                                 CONFIDENTIAL


   Policc File 320?15:           [handwritten in Arabic. Officer Sassi Ezral
       58. tu5831 Advanced Staff Sergeant Sassi Ezra (preparsr of a recoipt tor €xhibG for review dated 8 Soptemb€r 2015)-
                      thandwritten in Arabic: Ezra Shoshani (exp€dl
       57. superinlendenl Erra shoshani (proporor of on sxport opinion dat€d 10 septenbsl 2015).
                      lhandwTiften in Arabic: Haim Coh€nl
       58 "'dt117 Senior Non-commission€d ofiicer Haim cohen (prepars of an exh bits seizure repod dated 31 Augusl 20lb and a
            forensic examination report dated 6 September 2015),

                      lhandwriften in Arabic: Boaz Hindik Cohenl
       59 tu3782 Boaz Hindag Cohen (preparer of an exhibiis ssizure report dated 31 Augusl 2015 and a photo sheel and {orensic
            examination report dated 6 September 2015 and 4 l{ovember 2015).

                      lhandwritten in Arabic. Ofncer Hagai Ecklerl
       60. tu-1141 Advanced slafi Serueant Hagai Eikler (preparer ot I verification of a confesson to causation of harm as a result of
            operations hostile to lsrael, dated 31 August 2015).

                       lhandrvriften tn Arabic. ywd Shucherl
       61- tu"?778Yuval Shucher(preparerofaform,datedlseptemb€r2015,forsendangexhibilslotheballastcslab).
                      thandwitten in Arabic- ltamBt Kotrtino, Defense Forces, details with the Prosecutionl
       62 ltamar Kmlino (lDF, details wilh lhe prosecuhon).
                      [handwritten in Arabac: Ronen Edri, detrails with the Prosecution] [handwitten in Arabic: lwoundod in the
                      incident at Xafr Jitll
       63 Ronen Edn (details wiih the prosecution).

   Police File ldcletGdl        [handwritten in Arahc: Officer Fares Jabrl
       64 Jdelstedl Advanced Slaff Sergeant Fares Jabar (preparer of a cover sheet for exh bits, dated 7 November 201 5).
                                                                                                         1

                      lhandwrifien in Arabic. Officer y8niv FadidB]
       65. N127O Sup€rintsndent Yaniv Fadida {preparer of a form for sending material and a seizure-and-marking report dated g
           t{ovember 2015).

          lHandwritten in Arabic. Sarah Abramo\^ritzl
      66. Sarah AbrsmowiD Ban (preparer of an expert opinion dated 24 November 2015)
                      lHandwritten an Arabic. Atfonso Ben Tulila!
      67. 6-'5101 Superintendent Alfonso Ben Tulila (preparer of an examinalion report dated 2g November 2015)-
                     Ihandwntlen in Arabic: Yael Chelouchel
      6S 8t572 Supenntendenl Yael                  (preparer of a receipt for exhibits lo be examined, dated 1B November 2015).



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                                                                                                              Rotsm Cohsn, First Lieutonant

                                                                                                                        Military Prosccutor




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                    According to the information received fronr the lsraeli Authorilies, the lnternational Cornmiilee of the Red
                    Crcss attests that:


                    Mr:              AMJA0 AOEI ft4OHAMilAD ELETW

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                   According to the information received from the lsraeli
                                                                          Authorities, he lnternational committee of the Red
                   Cross att€clG that:


                   Mr:           AMJAD ADEL TilOH(MMAO ELEIWT ..
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                   Was arresled.by the lsraeli Aulhorities on (ddfnrn/yyyy):
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                  He is to date: Sentenced

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                                                          nri.l ,lf)             tytnf tN z0l4 n)u )v/
                )vc r rnx n !'i,',Nr']'"''Ir   n#:;fi
                                                              T:l; ".'Jl Jil;'l:'*::il:
                DENf, nnry., ,1:) lrnon tylDf lN zoL4
                                                   n u, )t, n)))u,n nlynn_t 1!nn: .x
                irN:y nllryg n)IlN ttuilrn oy (,,ogxf, ,l)n); nr19 .IDnln
                                                                                                    l)nN
                )"ryg p]dg) r,)nN
                                      }l ouNril u,))!n ,Ju']nl DNnnn n-l)pnf ngntu,n
                .1:n)) rorp lNtn-l -rNlly .rr]nt|])
                                                            {,,srxo,, : l>n>, ng>,n n))N.rtr,
                       't')DN Oy Nnl)Jf,
                                               ltNfl l)y!, Drlt.tnNnu nrn )y llxt! {,,16;16,
                n,t'Dn)N llpD ".nt ) )rby9 D..tNg Bt,
                                                             ,ogNf, )u lnrrn)n 1lNh ,-Iunnl .l
                lnnlu ,nt)DNn itr.rr)gn .rDl']f .Du!{rf,                   .1tnon oti?D>
                                                                 v/l!)     1>)                          tN




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                                                                                                             SHATSKY.JDOl967




                                     'Ily 'nt.I)n!' ntNfJ nl))!lg nlTl1 Dl1gl Dt;Xln
               lfly ,ll3yn lnrNl                                   '13'll 9'lx! nN ov'Brr-'i
               .'*or raotn nlNsJn
                                     n'l))ygil l'lll) "|nN) l)lJ"l
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               ): !v:) ln)tfttr rf 11uN1) t,.lN!             'nuNlit
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                                      91N'l   oux'n     lnfttl          ll'19)     'Jv/nnr
                ov,,, nJ)tJf Y.')9tnt                          'or)u,l)
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                                                              lN zol4 n)v'> lht vrtn 1)nnr            .)
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                                                             )!'11 B)'}f)N ltrt' o))9 TnnlD
               n)Nf,J nt)lyg nlllx
                                   (rilt{tDy" 'l)n)l

               rtuxrn u1t9    lDynf nl))Nlv',) nl.lun 1113 sr!'llr5 nln'tf ngnlu'n
                              'nl                             -]nx' l)rl.1l ]f, lNny r)51
                .n1))y5n nllp) Itf)l       llD)nl \5) r-ln:n
                                                   .'l:lf trv'xl) y)tg) lNDy 1ny) nfl)ntr




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                "lux DNnnn l])1 N Oy\)n r)xlJ nlhn) frlN.l nN                                     'J)'
                                                 g)'ly'' "lly)  )-l) )y'l)lt y:f>   ntun)    n) nnu
                i.rrt1ni,, ,'l)il)) o))N.luD
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                 ,'l) lnl .'l) ll'l:t Duil'n'lnilr
                                                                       9.})}, f')N.lD truNrn UP)f,
                 .n'Nf!il n))!n] n})!y!n nf.!u) lp.l) B.tN
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                  ,pvN'n )),] 191)n 9'l)nn nlnt nN ltvnr
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                 EVtNri't lnnlu ,l), Jlngn 1!lDl
                                                                      nrNlj n])t!'5 nl-tlN u9Nf'l
                  clDNl nN tru'iltn l)1)', tll lDynl 'ngnlutt
                                                            )ul n)nlllu )y o::n)n D'99t) nl.l]N
                  o)}}unl 1f]D ilt n)N]yn il))lnn
                                                                               y))gr B()Nf, :f ln))t)              .p
                  11i!:ln3 t}1tl'l ntNf,Jn
                                              nt'lnn )v nnt)tyc llDrDl
                  tr)gE'l)n olrtytn
                                           gltl) lN.lt ouNt;19' 'I]}'f 'nutnYJl 'ltl,N n")DNn
                                                                            n">nNn n'llynl i]r)]nf
                  y)rv) -tDnln )l tr)r)v,il rn)tg'|f, 1':!) 'Dtl19'1)
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                                           ?v/) trl u]ll' lllnx)
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                  ,y,r'p'r!)B9Nl.lgn,Jf)J'lnDnl}t'lDl)Nzol5n:vt)}Nnu1lnf,
                                              nil' ntnnn ):rp trnl* rdl53'000 o,X)il
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                  v.rD)u PVr, r)r nv,)t DU',)
                  ])Nly 1)y9 :)x,y) truxrn n)9 .iN
                                                      -n't{]!n nr)tnn )v,, nnt):yo n:tp}
                                                       nN 9tPtf,l {"1'N'y" 'l'n'l vl'l}.t'n
                   .put l>f -lln)Nl1'linNn )ur tyrro
                                                                                    .vtpltD) >Ys n)n
                                                                    rrnnlDl ttgxtn lDu 'l!"nill
                   tyrlnvln .il''t]'r)N :lnr rrlD oillDy9




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               Dxnnf) ,tN .'rJt )11'tf )!f,bil l)'lN 1Dn]n> DUNtn 19n ,Junnf, .fr
                           .vDv/D nTtP)l'rlDNn \)tNn nN'tDnln n))n !DDNf )yr urrnlnS

               )u' lnv,pf, rtx)r ,1r) JtDpn tltnf tN 2015 n)y, usl)lN vrttn 1)nn: .rr
               )v/ itnt))yg n:ru) nrpxn nN ;'t-trn u,ir)fl oDNf,t trvrxrn n)t ,l'lN'l
               lnnNnD {.,P}ll'tDnltc) nTiTNn nN DDNf, l9u ,'lfvtta .n}N:Jn nr)hn
               buNr) n,rpNn nN llr),nt v/p]lr3f )ys rnntn .bvxrit r1r) 1'1r3y1)
                                                           .rrnx::'lxr) lluyn tuN
               ot'lNtn )trp ,nl)'tur nt)l)ntrn'l5gnf ,n)il:yn nr)h: tnt)ryg 'J)iltof .1r
               n1)r!,g nltu) gr)py rl)x o]fgl o))lut rlpf, r,r)f9 1;qr1p p})
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               rrrrpt 1y nrun, ntN:vh nrhfilr DilDnt luiilt oyrNtn ,u, ttl.rtn
                            i"t:,a,"..                                                    .ttYYD
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               nrN'rlil rrr: t;'.190-r (Nr209 o)9)y9 )t' nl:f, ,n)l'rff nlllo nDt-]D lr)9)) . r].ltltn ntnD
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                  , ....'. - -.,t:|'nt,n)!]ff B'lN)ur tntn) ot'l)t ir9t),'l't\Nf ,t")n DyrNtit :tt.rrllniro
               orflnr tlr lt'lr! nrr nnrs: ,1:) JrDpil lrrlrf lN uDt))N wrn 1)nn: .x
               'tlnN) t,lNlt 19nr Dt,t{rn U)-l lnlN PU)n )>f, nlySDN:r ,J)> JlE9lr
               ltnx nrly ntNtJn ntrtnn )lln lyJtf ,f')N1 ot, ol)rob oNnnf,l ,)ty>
               lnlD) b).t)) n:llll ,ttN'lut f,)l )r)'lfy) t.tl yJ)'g rl)tf,Dl prlr ,Dgl{lil
                                       .n)Nf3n nr)tn: Ontlry5 1l)gDl nNtl )'1ilr 19r1nn )V
               nN -llng.r N)n) t)l,ty ,Jl) Jlhpn Tytnt tN t1)n ylltg y'tf)tr 1nX) nDu) .tr
                      .}ntNjlnf,) tlnNf f)llt n)l nDllf t"ltn !''l))5 ylj)tr nlllN f,'lNl
               y'l))!n yrv)l nr-llN EVrNtn nN plyl f,')Nl -l)5 ,lfD 'lnN) nF Jt3\ .)
               )}n yl)rg y'tv)f, nl'nN lNtNl D9Nl nX ]l'rnNn ]fly ,'lvnnf ..llDNl
                                                                 .nr)lnil rifn lyJttv,t
                  .'rnr :9,rrrb tv, rnl,r, trlJtt nitlnr tl:D,Fll !:flDltfl ltl.:lglpl

                                                                        .               tgttv glvrtH lr19
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               ntNttn r:rl rs) 198-r (N)?09 t))5'yl? )t) nllf!,,n)l'rfl nllD nnr"])) Jl)g)) :I:lll!!ilJa
                                                 .2009 -y,,sn_ ,{t651 ,gDXU,'lr) ltrtlvrD nDDJ ltnurl
                                     .l))rn'r ,n)]!ft a-tN )u, tntn) otrr) np)),'lllNl ,)")n ouN)n !nl:lli-:g1!
               :>l nlyjtSNl ,1:) lrnon olPnl ]x nt') n)f nDxtr ,10/08/15 o'llf .N
               "t)DD) Nrn) llrJrt ,>t!,) 'tlDNf l,)N'], ']gn'l Dt'xfn V/)'l tnlN PU)n
               n)nr) tyf, 'fNTll) )19n ))x.lgrt tfl trf lfy, ,'1!P nllun ,l0l) t.l) yl)r9
               t-l t. 1,;bN'rvrrn $'tlt', ,rtn)l 7o-8O8-78 n159Dt, nt)N1u) tli'ltt
     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 130 of 142



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               1nN)'r)n 1upurtn 'trn 'pn)) K700326 vlfu 19en Nul)n,Ml6llPD
               rlr nx t)N'l )1t, EUNtn 'lpn ,lN 'ltlN'lf, OVN,n] lnnln IVJ)5 lln
                                         .n)Nrln nnr)ryl n:tu) ounur lv/N i7ur)n
                                                                             r)tr r"'llnf, 'n
               ]f1y) lDnlnn EuNtn vpr: ,';:)'llnl)n lylxtf ]N z0l5 n)V;)
               {,.ttltn '4'|/rn rr)" '])n)} Ml6 )lgD ttgl) pul r): lJY.,} t) oPNl nN
               .{rirlrt5f )y! thnln 'utlt) ot,mn uPf,n lnlN ru 51,000 )v nlSv:
               EgNln ttrril'tunlD )u tfllrrl ,1:) ltnon 1y!Rl lN 1:n tnx) orrplt
               nx llnf, 1NtN,:' OlrHtn v'P)f, ,lUnnl 't0t 50,000 )u 101 o't)9 BDNfD
               r1) )! pu)il r): ntrnl lnN)l ,lN .lnu))l o-11r1 llDxil putn r):
               >u) ,lfn rnx) r:p l'3\ .llnxn purn r): nN tr{.tiltn uf,'l ,l!-
               n)n :y nilr ,ogl{)n )vr tnrrn)il} oxnilf ,rlgl)n Put)n )r)                            4
               pu:n r): nlllt'{ opNr nN .tnnln lfl}, ,'t)D 'lnN,
               1un) tntur: pvrln nN Prlnn 'mnm) ltrnN'
               u)9 ,tN rN .Evilln !1r, lolln Pv')il *) lp-'
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                                              )y                      .vri?rrnl lys n)n
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                               llrJrf o))llnND.ll.lnNn                                                                                    C   )1 (V \
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                           JlN 1r6p1xrn)
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                          )rrn yr)), y)rr:                                   r)rv1 1,1p..,
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                     )u on}n n6r.11       n)rhn try:.Du r'tt                     1)nn: .N
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                                               ,)'lP,n)N.f!i.) Dr>tn,                                            Nrn))
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                   nN rr.,r,r pn 1nn51 .1J""'                                        ua':t tru'(t> 'Jux'irr ':
                   Dr)rv'r oDNf,r ,n,n,                                    n"ir,'njf               lllnxtr
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                   r)n) D))lrnNn.o.rrornTln                       n-,rir" rnx) ')rsPll.tnND
                                                           "''"on
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                  v,) ,.r r,)N.r                                                             nrlhn lrt.t ,'lrrN
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                 nt)tnn n!rr:                                                                   uiTl:D) l'ni.'
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                 't)f, ,D))rJ                                       'rN   t''llt ,,)r t
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               n)nl> Nu))il                                 ,i'"io 'l>n>l lnNy )rn''t
               rr') rt ,(,,rtrrltyrrrn ,rl'u"'n'
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                 n'rN"rln'rf,'ll lJ> (r+N))199-l (Nlz09 D)g)yD tS) nTl!' ,-)'rllf, nllD rn)l) ,!'L!J|n.nil!
                                           .2009 _y,,v/nn ,(ldsl ,DDl(y,,,1)) []}.lv,D nsul llnuu
                                        :])ttit't ,il]l!f,] o.lN )u tnlD> B1)          r)")n Dv.'x)n :nltlyn tl,10
                                                                          'JllNl
                 ,nnlDt ilthnil )lln lD.rl ,ollirn D\utNit u'19) 'l ir"gf  "llDNn nN Bnlu!f,
                                                                 .)r,t lrr:n nn r )g ,nrn:r


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                 111: lt) l9$ -) h)211 Dlou,o )9) nltly ,nl'llnnn n13!D)f nt)9n5 ll)or) lnltllil                 nrih
                       .2009-y',unn ,{1651 '9D) {ll'rDlunl;111nt} {f)l9D npl), llnul nlx"l\n
                 tN ,Orrn n)fg) 't'tt3 n)nt lpn)ilU nylTtf O1N lpn ,lltNf ,,il)n e1rN)n li1lrllij
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                                                     ,11Dn1 ,6111) tN UlnP) )1f tr1x rlun

                            llun, n)))nil tlln l9t) ,rltff.ln olvjtNn rl)10f or.llDRn o)t'ynf
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                                                                                               !UEt, gtutx 1,1D
                 r4x1'rir       ly) 198-] {N)209 DrtD'g )5, n't)f,y ,n)ll)f nlln nn).l)> ]lrDr) : it'!l!1fl:D!I!}3
                                             .2009 -),,'Unn ,(1651 'Vn (V")t) [])lun n9t)l llnl))f
                               :'l)rlitl ,it)l'tft olN )U \nrn> Dt'l)) nD)J ,-ll\Nf ,)',;h ovrx)n Inlt:ttrl9.lg
                 )v, tnlD) D]l)t n!)lnil )'lfn )IlfJ ,t!)l'lil o'lgtRn u-ltl Dt'lltJN-l otuyDf
                                                      .t,'l ])p)n nDy)t BrtN:u,' D)f, ,9-n 'l: ,.n.n

                                                                                                : tltD0t ItlUtN UID

                 ntN'rln "r]'r] ly) rt8-l (Nrr09 DtgtitD )5) n'l)l), ,nrtlff nllD nEi.r)) ll)9') : ll1'tyn tllrlD
                                             .200t -y,,unn ,{1651 '9nxu,'t)} IfhvD nE|t)J llnD)f
                                 :   l)r)irl ,it)l!)f, tr1N )U lnl'3) ollr) n9t) ,'lllNf ,)")n DUN)n :nl:lln-Igrg
                 )U tnfn) Drt]} il'r)rnil )lfn lpt) ,t),tl'ln BlUrXfl U't5: o)1)nNn cllv.ryhf
                                                  .)',\ 1rpln nny)l onlx:v D)tr ,7-n ll ,,n.)


                                                                                                : t)rlgn   tt'lutil U'lO
                 nlx.l1n 11.11 )J) 198-l (Nlt09 D'9)yg )5) nl)fy ,n)llf: nlln nDtl)) l!tD)) :roIMAE
                                         .2009 _y,,Vrnn ,{l6rt,vD,)lv',1)l []))Un nDl)l ltnt,rl
                                 .'t)1)ilt ,ntltft trtN )u lnrn, o1'r)) lEr!) ,11\Nf ,)")n Dv.rN)n :A't!'Iljg:g

                 )vJ ln1E, o)-l)) n))lnil r'lfn l9t) ,ty):.lil olv')xil u19f o)"llnNn
                                                                                          tr)v')'ntr
                                                   .r,,r pt?)ir nny)l on:N rY, o)tr ,4-n ll . il')

                                                                                                : t.tttty lttgttX U.|g




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                                          ,n)ll)t olN )y/ lnln) Dl'u) n9)l ,l]tNf ,),,h ouNln :'ttr:ln t9.t9
                                   : )))'nT

                    )v,r tntn) otrr) nr)tnn )'lf,n l9lt ,)y)ltn DlurNn u'lof o)'t)nNn o)uyDl
                                                 5,1 pp)it n'!y)l on)N )u o)r ,Drwttn l0 F ,.il.N


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                    nDl)J lrnu)f nlN'rtil t:.If l:) 333-1 245 0)9rr0 )!) nl)f,y
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                                             .2009 - y,,unn ,{t6Sl ,pExl.ltDlvnl iltln.,) (:)tun           'ltflb
                    ni2)nn )y n'plt, "lfyu o'rx ):) u)pn 1nt tN o.tN) lly
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                   ,'ltt)!n ollu,f, ),1)9) nntunu n)tyl ):: pply iFnu )x pglyn tN ltnu)f,n
                   rf 'Ilu,n) t)f,o't'tD) ur)y., lN r-llf)Jil l.lDn ol)pl p)rr;11 ),11
                                                                                         nlnlf o))u,
                   ,pg,) ,ot't)t ,lof ,ni7un ,lllD ,nDnn ,nlyt"r' lnn r.1r )y
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       Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 139 of 142



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                     Mr;           AMJAD ADEL MOHAMMAD ETEIW

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Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 140 of 142




                     Exhibit 163
                    Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 141 of 142




                                             Prisoner Sa      Statement
 Prisoner no. 7681
 Prisoner Name: Amiad Adel Muhamad.Aliwi     Document no. 9'1 6525587
 Month Year Beneficiary                      lD no     Bank Name          Branch   Account n,:.    Salarv




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                                                           Page 1 of2

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                     Case 1:18-cv-12355-MKV-DCF Document 177-24 Filed 05/16/22 Page 142 of 142




                                             Prisoner         Statement
Prisoner no. 7681
Prisoner Name      AdelMuhamad Aliwi          Document no. 91
Month Year Beneficiary                       lD no.      Bank Name        Branch   Account no      Salarv




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